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     1                 UNITED STATES DISTRICT COURT
     2             FOR THE NORTHERN DISTRICT OF OHIO
     3                         EASTERN DIVISION
     4                               - - -
     5    IN RE:    NATIONAL                  :
          PRESCRIPTION                        :   MDL No. 2804
     6    OPIATE LITIGATION                   :
          ___________________________ :           Case No.
     7                                        :   1:17-MD-2804
          THIS DOCUMENT RELATES               :
     8    TO ALL CASES                        :   Hon. Dan A. Polster
     9                               - - -
    10                 Wednesday, February 27, 2019
    11         HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                           CONFIDENTIALITY REVIEW
    12
                                     - - -
    13
                    Videotaped deposition of JAMES T. SCHOEN,
    14
          held at the Hilton Garden Inn, Perrysburg, Ohio,
    15
          commencing at 12:59 p.m., on the above date, before
    16
          Carol A. Kirk, Registered Merit Reporter and Notary
    17
          Public.
    18
    19                               - - -
    20
    21                  GOLKOW LITIGATION SERVICES
                   877.370.3377 ph | 917.591.5672 fax
    22                         deps@golkow.com
    23
    24

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                                              Page 2                                                     Page 4
    1           A P P E A R A N C E S:                         1   ALSO PRESENT:
    2   On behalf of the Plaintiffs:                           2
    3       MCHUGH FULLER LAW GROUP                                 Michael Newell, Videographer
            BY: LANCE REINS, ESQUIRE                                Zachary Hone, Trial Technician
    4          lance@mchughfuller.com
               ALLAN (A.J.) L. ELKINS, ESQUIRE                 3
    5          allan@mchughfuller.com                          4
                 (via teleconference)                                          ---
    6       97 Elias Whiddon Road                              5
            Hattiesburg, Mississippi 39402
    7       601-261-2220                                       6
    8                                                          7
        On behalf of AmerisourceBergen Corporation (via
    9   teleconference and text/video streaming):              8
   10        JACKSON KELLY PLLC                                9
             BY: SANDRA K. ZERRUSEN, ESQUIRE
   11           skzerrusen@jacksonkelly.com                   10
             50 South Main Street, Suite 201
   12        Akron, Ohio 44308                                11
             330-252-9060                                     12
   13
   14   On behalf of HBC (via teleconference and text/video   13
        streaming):
   15                                                         14
            MARCUS & SHAPIRA LLP                              15
   16       BY: ELLY HELLER-TOIG, ESQUIRE
               ehtoig@marcus-shapira.com                      16
   17       One Oxford Center, 35th Floor
            301 Grant Street                                  17
   18       Pittsburgh, Pennsylvania 15219-6401               18
            412-338-3345
   19                                                         19
   20   On behalf of Walmart (via teleconference and          20
        text/video streaming):
   21                                                         21
            JONES DAY
   22       BY: PATRICIA OCHMAN, ESQUIRE                      22
               pochman@jonesday.com                           23
   23       901 Lakeside Avenue East
            Cleveland, Ohio 44114                             24
   24       216-586-3939
                                                    Page 3                                               Page 5
    1   On behalf of Prescription Supply, Inc.                 1    VIDEOTAPED DEPOSITION OF JAMES T. SCHOEN
    2        FOX ROTHSCHILD LLP                                2        INDEX TO EXAMINATION
             BY: JAMES C. CLARK, ESQUIRE
    3           jclark@foxrothschild.com                       3 WITNESS                     PAGE
                STEPHAN A. CORNELL, ESQUIRE
    4           scornell@foxrothschild.com                     4 JAMES T. SCHOEN
                   (via teleconference and text/video          5     CROSS-EXAMINATION BY MR. REINS:       9
    5              streaming)
             2700 Kelly Road, Suite 300                              REDIRECT EXAMINATION BY MR. CLARK         143
    6        Warrington, Pennsylvania 18976-3624
             215-345-7500                                      6     RECROSS-EXAMINATION BY MR. REINS:     144
    7
                                                               7
    8   On behalf of Johnson & Johnson and
        Janssen Pharmaceuticals:                               8
    9
             TUCKER ELLIS LLP                                  9
   10        BY: JEFFREY M. WHITESELL, ESQUIRE                10
                jeffrey.whitesell@tuckerellis.com
   11        950 Main Avenue, Suite 1100                      11
             Cleveland, Ohio 44113
   12        216-592-5000                                     12
   13
        On behalf of McKesson (via teleconference and         13
   14   text/video streaming):                                14
   15        COVINGTON & BURLING LLP
             BY: MARY YANG, ESQUIRE                           15
   16           myang@cov.com                                 16
             One CityCenter
   17        850 Tenth Street, NW                             17
             Washington, DC 20001
   18        202-662-5110                                     18
   19
        On behalf of HBC:                                     19
   20
                                                              20
             MARCUS & SHAPIRA LLP
   21        BY: MOIRA CAIN-MANNIX, ESQUIRE                   21
                cain-mannix@marcus-shapira.com                22
   22        One Oxford Center, 35th Floor
             301 Grant Street                                 23
   23        Pittsburgh, Pennsylvania 15219-6401
             412-338-3345                                     24
   24

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                                                       Page 6                                                Page 8
    1   VIDEOTAPED DEPOSITION OF JAMES T. SCHOEN                 1        Prescription Supply.
    2           INDEX TO EXHIBITS                                2
    3 PSI - J. SCHOEN DESCRIPTION                  PAGE
                                                                              MR. WHITESELL: Jeff
                                                                 3        Whitesell of Tucker Ellis on behalf
    4 PSI - J. Schoen 1 DEA Notice of Inspection of 124
                  Controlled Substances,                         4        of Johnson & Johnson and Janssen.
    5             Bates-stamped PSI-0000077                      5            MS. OCHMAN: Patricia Ochman,
    6 PSI - J. Schoen 2 State of Ohio Board of   142             6
                  Pharmacy, Written Responses
                                                                          Jones Day, for Walmart.
                                                                 7            MS. HELLER-TOIG: Elly
    7             for Prescription Supply,
                  Inc., Wholesaler/                              8        Heller-Toig for HBC Services
    8             Manufacturer, Category                         9        Company from Marcus & Shapira.
                  Three, Wholesale                              10
    9             Distributor Inspection,
                                                                              MS. YANG: Mary Yang with
                                                                11        Covington Burling for McKesson.
                  October 25, 2017,
   10             Bates-stamped PSI0000007                      12            MR. ELKINS: A.J. Elkins,
                  through 83                                    13        McHugh Fuller Law Group,
   11                                                           14
   12
                                                                          Plaintiffs.
                                                                15            MR. CORNELL: Stephan
   13
   14                                                           16        Cornell, Fox Rothschild, for
   15                                                           17        Prescription Supply.
   16                                                           18
   17
                                                                              MS. ZERRUSEN: Sandy Zerrusen
                                                                19        from Jackson Kelly for
   18
   19                                                           20        AmerisourceBergen.
   20                                                           21            THE VIDEOGRAPHER: The court
   21                                                           22
   22
                                                                          reporter today is Carol Kirk and
                                                                23        will now swear in the witness.
   23
   24                                                           24                 ---
                                                       Page 7                                                Page 9
    1                ---                                         1              JAMES T. SCHOEN
    2           PROCEEDINGS                                      2   being by me first duly sworn, as hereinafter
    3                ---                                         3   certified, deposes and says as follows:
    4           THE VIDEOGRAPHER: We are now                     4                EXAMINATION
    5       on the record. My name is Michael                    5   BY MR. REINS:
    6       Newell and I'm a videographer for                    6         Q. Good afternoon.
    7       Golkow Litigation Services.                          7         A. Hi.
    8           Today's date is                                  8         Q. Could you please tell us your
    9       February 27th, 2019, and the time                    9   name.
   10       is 12:59 p.m.                                       10         A. James T. Schoen.
   11           This video deposition is                        11         Q. And have you been through a
   12       being held in Perrysburg, Ohio, in                  12   deposition before?
   13       the Matter of National Prescription                 13         A. Years ago with an auto accident.
   14       Opiate Litigation for the Northern                  14   I think I was maybe 18.
   15       District of Ohio, Eastern Division.                 15         Q. Got it. The reason I ask is I'm
   16           The deponent today is James                     16   just going to go over some of the ground rules
   17       Schoen.                                             17   for depositions. Your counsel has probably
   18           Will counsel please identify                    18   advised you, but better safe than sorry.
   19       themselves.                                         19             So, obviously, I'm going to be
   20           MR. REINS: Lance Reins with                     20   taking down -- I'm going to be asking the
   21       McHugh Fuller Law Group on behalf                   21   questions here today. We have a court reporter
   22       of the Plaintiff.                                   22   who types everything that we say. Because of
   23           MR. CLARK: Jim Clark with                       23   that, if you could please verbalize all your
   24       Fox Rothschild on behalf of                         24   answers, no huh-uhs, um-hmms, or head nods

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    1   because those can't be taken down, okay?            1         Q. Do you know what year he started
    2         A. Okay.                                      2   the company?
    3         Q. If you do so, I may say "Is that a         3         A. 1955.
    4   yes or is that a no," because I'm looking for a     4         Q. Your dad is now the president?
    5   verbal response. All right?                         5         A. Yes.
    6         A. Okay.                                      6         Q. His name is?
    7         Q. Please let me finish my question           7         A. Thomas G. Schoen.
    8   before you begin answering. Let me add a caveat     8         Q. And he runs the company along with
    9   to that.                                            9   his sister?
   10             Your counsel is going to object to       10         A. Yes.
   11   some my questions. So after I finish my            11         Q. And what's her name?
   12   question, if you could just wait a moment, allow   12         A. Jacquelyn Harbauer.
   13   him to object, and then you can respond. That      13         Q. Do you know what her position is?
   14   way we're not talking over one another, okay?      14         A. Secretary.
   15         A. Okay.                                     15         Q. How long have you held the
   16         Q. Lastly, if you answer my question,        16   position as controlled substance manager?
   17   I'm going to assume that you are doing two         17         A. Around 20 years.
   18   things. One, you understand the question, and,     18         Q. Can you tell for us what that
   19   two, most importantly, you're telling the truth;   19   means to be the controlled substance manager for
   20   is that fair?                                      20   PSI?
   21         A. Yes.                                      21             MR. CLARK: Objection; form.
   22         Q. If you don't know something or you        22         Q. What are your duties and
   23   don't understand my question, just let me know     23   responsibilities?
   24   and I'll rephrase.                                 24         A. What are my duties and
                                                Page 11                                                 Page 13
    1         A. Okay.                                      1   responsibilities? Pick and fill orders that
    2         Q. If you need a break for any                2   come in, okay. Look at sales history. I do
    3   reason, just let me know. It's not a marathon.      3   inventory. A lot of different things.
    4   We'll take a break when you need to, okay?          4         Q. That's okay.
    5         A. Fine.                                      5         A. I put in orders also, okay, and I
    6         Q. Can you please tell me what you do         6   release orders that come in that go to hold.
    7   for a living.                                       7   All the C-IIs go to holds. So I have to release
    8         A. I work at Prescription Supply.             8   those.
    9   I'm presently the controlled substance manager.     9         Q. PSI deals in the business of
   10         Q. And what is Prescription Supply,          10   distributing narcotics; is that correct?
   11   Inc. in the business of doing?                     11         A. That's some of our business,
   12         A. We're a pharmaceutical wholesaler.        12   correct.
   13         Q. And you distribute or provide             13         Q. Are you aware of the risks and
   14   medications to what type of customers?             14   dangers associated with narcotics in our
   15         A. Mostly independent pharmacies,            15   society?
   16   some doctors, and some outpatient pharmacies       16             MR. CLARK: Objection to
   17   that are in hospitals.                             17         form.
   18         Q. And how long have you worked with         18         A. Can you repeat?
   19   the company?                                       19         Q. Sure.
   20         A. Since like 1986.                          20             Are you aware that there are
   21         Q. Was your grandfather the founder?         21   certain narcotics that you're distributing that
   22         A. Yes.                                      22   are highly addictive?
   23         Q. What was his name?                        23             MR. CLARK: Objection. Form.
   24         A. Clarence J. Schoen.                       24         A. I've heard that.
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    1       Q.     What have you heard?                     1   addictive nature of oxycodone?
    2            MR. CLARK: Objection to                    2            MR. CLARK: Objection to
    3        form.                                          3        form.
    4        A. That on some of the labels, it              4        A. No.
    5   says they can be addictive.                         5        Q. Other than the news, have you
    6        Q. Which ones?                                 6   educated yourself as to the risks and dangers of
    7            MR. CLARK: Objection to                    7   oxycodone?
    8        form.                                          8            MR. CLARK: Objection to
    9        A. I think OxyContin was one and               9        form.
   10   maybe hydrocodone.                                 10        A. Have I --
   11        Q. And your company distributes both          11        Q. Educated yourself on what the
   12   of those?                                          12   risks and/or dangers might be.
   13            MR. CLARK: Objection to                   13            MR. CLARK: Same objection.
   14        form.                                         14        A. No.
   15        A. Yes.                                       15            MR. REINS: Did you get the
   16        Q. I've asked this question of, I             16        answer "I don't know"?
   17   think, two of your other family members, whether   17            THE COURT REPORTER: Yes.
   18   there has ever been any internal meetings          18   BY MR. REINS:
   19   regarding the addictive nature of oxycodone        19        Q. All right. Sir, based on the fact
   20   specifically, and I've been told there has not     20   that your company does distribute narcotics
   21   been.                                              21   which have been certified or identified by the
   22            Do you agree with that?                   22   government, are you aware that there's federal
   23        A. Yes.                                       23   regulations governing the distribution of the
   24        Q. Would you agree with me, though,           24   products that you sell?
                                                Page 15                                                 Page 17
    1   that we are in the middle of an opioid epidemic     1         A. Yes.
    2   and/or crisis right now?                            2         Q. Okay. So, for instance, you're
    3             MR. CLARK: Objection to                   3   aware of the Controlled Substances Act, I would
    4          form.                                        4   presume?
    5          A. I -- I see that in the news. I've         5         A. I'm aware of it, yes.
    6   never been affected, but I don't know anybody       6         Q. Okay. Specifically --
    7   that has, you know, a problem with addiction.       7   specifically, are you aware that distributors of
    8          Q. I think -- is Candace your aunt?          8   controlled substances and Schedule I or II, the
    9          A. My cousin.                                9   Attorney General shall register an applicant to
   10          Q. Cousin. I'm sorry. She said              10   distribute a controlled substance in Schedule I
   11   she's seen it on the news.                         11   or II unless he determines that the issuance of
   12             Have you seen it on the news, that       12   such registration is inconsistent with the
   13   it's a problem?                                    13   public interest.
   14             MR. CLARK: Objection to                  14             In determining the public
   15          form.                                       15   interest, the following factors shall be
   16          A. Have I seen -- yes, I've seen            16   considered: Maintenance of effective control
   17   stuff on the news regarding opioids.               17   against diversion of particular controlled
   18          Q. Have you ever attended any               18   substances into other than legitimate medical,
   19   seminars, lectures, or meetings outside of your    19   scientific, and industrial channels.
   20   company regarding the addictive nature of          20             Do you agree that PSI has the duty
   21   oxycodone?                                         21   to maintain effective controls against
   22          A. No.                                      22   diversion?
   23          Q. Have you ever read any of the            23             MR. CLARK: Objection. Form.
   24   congressional hearings or reports regarding the    24         A. No. The DEA issues us a license.

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    1         Q. Yes, sir, and that's fair. But do          1   when these were passed in 1970 and '71,
    2   you agree that your company is responsible for      2   respectively.
    3   coming up with effective plans to prevent drug      3            MR. CLARK: Same objection.
    4   diversions of the products that you distribute?     4        Q. Did your father testify honestly
    5             MR. CLARK: Objection to                   5   and truthfully?
    6         form.                                         6            MR. CLARK: Objection to
    7         A. That's what the law is.                    7        form. There's a question pending.
    8         Q. Yes, sir. And the law is also              8        I don't think he answered the prior
    9   that any suspicious orders, pursuant to the         9        question.
   10   federal regulations, include orders of unusual     10        Q. Okay.
   11   size, orders deviating substantially from a        11        A. I'm not sure if I really
   12   normal pattern, and orders of unusual frequency    12   understand what you want.
   13   shall be reported, correct?                        13        Q. Yes, sir. I'm just saying, you
   14             MR. CLARK: Objection to                  14   agree with your father, who is also the 30(b)
   15         form.                                        15   representative, that there's a requirement that
   16         A. That's what the law says.                 16   suspicious orders, specifically regarding
   17         Q. Yes, sir. And I believe I asked           17   preventing diversion into our society of
   18   your dad about this. This is going to be in his    18   narcotics, that that shipping requirement
   19   deposition when he was taken specifically as the   19   requires that suspicious orders not be shipped,
   20   30(b), which means a corporate representative of   20   correct?
   21   PSI speaking on behalf of the company.             21            MR. CLARK: Objection to
   22             And this is going to be on page 59       22        form.
   23   of that deposition, specifically line 11.          23        Q. You're aware of that?
   24             Your father was asked, as the            24        A. They should -- suspicious orders
                                                Page 19                                                 Page 21
    1   president -- let me restate that -- as the 30(b)    1   should not be shipped.
    2   representative of PSI:                              2        Q. Yes, sir. The law has been that
    3             "What is your understanding of the        3   way since these Acts. These laws were enacted
    4   shipping requirement? And, quite honestly, it       4   in the early '70s, correct?
    5   shouldn't be the shipping requirement. It           5            MR. CLARK: Objection.
    6   should be the anti-shipping requirement, right?"    6        Q. As your father testified?
    7             "Answer: That's correct."                 7            MR. CLARK: Objection. Same
    8             "Okay. And is it your                     8        objection.
    9   understanding that the shipping requirement         9        Q. Correct?
   10   means that if we have a suspicious order, we       10            MR. CLARK: Same objection.
   11   need not to ship it?"                              11        A. Okay. Ask the second -- ask the
   12             "Answer: Yes."                           12   second question again.
   13             "And that has been the obligation        13        Q. Of course. Yes.
   14   not just upon PSI, but all the distributors, to    14            I'm saying you're aware that these
   15   your understanding, since 1971 when this           15   regulations that I read to you that we spoke
   16   regulation was passed?"                            16   about were enacted in the early '70s; did you
   17             Answer on the next page at line 2,       17   know that?
   18   "Yes."                                             18        A. Yes.
   19             You understand as -- you                 19        Q. Okay. And so the shipping
   20   understand that that not only is the law but has   20   requirement that I'm speaking to you about has
   21   been the law since 1971, correct?                  21   been in place since the early '70s?
   22             MR. CLARK: Objection to                  22        A. Correct.
   23        form.                                         23        Q. Okay. Now I want to talk to you
   24        Q. And I can show you the regulations         24   about -- you mentioned the DEA. Before we get

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    1   to that, let's cover some basic principles.         1   dispensing more than a certain number of --
    2             It appears that you have been or          2   phentermine is one of them, hydrocodone,
    3   are the one responsible for establishing            3   oxycodone. Fentanyl is on there, prometh with
    4   thresholds for varying families of narcotics for    4   codeine. Tramadol is on there. Carisoprodol is
    5   some time; is that fair?                            5   on there.
    6             MR. CLARK: Objection to                   6         Q. And you have them fill out this
    7         form.                                         7   questionnaire when you first start doing
    8         A. Yes.                                       8   business with them?
    9         Q. I'd like you to take a moment and          9         A. It's before we do business -- when
   10   describe for us the process and how you go about   10   they fill out their application, that is filled
   11   establishing a threshold?                          11   out if they want -- if they expect to get
   12         A. Okay. I go about that by -- a lot         12   controls. Only about maybe 30 percent of our
   13   of things determine that. How many orders they     13   customers get controls.
   14   do per day, how many scripts they fill. They       14         Q. Okay.
   15   fill out my questionnaire and I go off of that,    15         A. So not everybody fills one out.
   16   okay?                                              16   In order to get controls, it must be filled out
   17             So I read the questionnaire, okay?       17   and completed.
   18   And that's basically the basis point of how I      18         Q. Will the questionnaire also
   19   determine what they -- you know, what they         19   have -- will it ask them kind of their -- well,
   20   receive.                                           20   let me just ask it this way: You maintain all
   21         Q. Okay.                                     21   these questionnaires for your customers?
   22         A. Okay. And I also, you know,               22             MR. CLARK: Objection to
   23   check -- I can check the population around them,   23         form.
   24   you know. They have to be a customer for a         24         Q. You keep them?
                                                Page 23                                                  Page 25
    1   little while before they get controls.              1         A. They're in a customer file,
    2          Q. All right. Take that one at a             2   correct.
    3   time, if you don't mind. Let's start with the       3         Q. And based off the answers to those
    4   questionnaire.                                      4   questions, if I'm hearing you right, from that,
    5             Did you come up with the                  5   you come up with a threshold?
    6   questionnaire?                                      6              MR. CLARK: Objection to
    7          A. I helped.                                 7         form.
    8             MR. CLARK: Objection to                   8         A. That's very helpful. Yes.
    9          form.                                        9         Q. Okay. You said -- one of the
   10             Go ahead.                                10   things you said, it's the population around the
   11          A. I helped with it, yes.                   11   area. Do you look at that every time you set a
   12          Q. Okay. And this questionnaire is          12   threshold?
   13   going to be asking what types of questions?        13         A. Not every time. If it's somebody
   14          A. It asks pharmacy information, if         14   new and it's an area I'm not familiar with, I
   15   they're affiliated with any other pharmacies,      15   will.
   16   how long they've been in business, what are        16         Q. Okay. Any other information?
   17   their store hours and what days are they open a    17   Does anyone -- let me ask you that. Any other
   18   week, what is the percentage of controls to        18   information you look at beyond the questionnaire
   19   non-controls they plan on purchasing, also what    19   and potentially the population surrounding the
   20   they dispense, the amount of cash for controlled   20   area if it's an area you're not familiar with?
   21   substance prescriptions compared to credit         21         A. I sometimes will call the police
   22   cards, insurance, Medicaid.                        22   department and ask them if there's any areas of
   23             It asks certain questions about          23   concerns with controlled substances in that
   24   certain items, all right? If they plan on          24   area.

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    1         Q. All right. Do you document                 1            MR. CLARK: Objection to
    2   those -- the steps that you take in setting the     2        form.
    3   threshold?                                          3        A. Yes.
    4             MR. CLARK: Objection to                   4        Q. Why have a threshold?
    5         form.                                         5        A. Why have a threshold?
    6         Q. Like will you keep a file and say,         6        Q. Yeah. Why have one, specifically
    7   "Hey, I called the police department," or, you      7   for opioids?
    8   know, "I've reached out, got some statistics on     8            MR. CLARK: Objection to
    9   the population"?                                    9        form.
   10         A. No.                                       10        A. Okay. Well, a threshold is very
   11             MR. CLARK: Just let me --                11   important.
   12         objection to form.                           12        Q. Why?
   13             Go ahead.                                13        A. If somebody tells me they only --
   14         Q. I didn't hear your answer. I'm            14   you know, dispense so many tablets a month,
   15   sorry.                                             15   okay, and I set the threshold at that amount,
   16         A. No. No.                                   16   I'm more aware, all right, when they reach that
   17         Q. All right. Any other information          17   amount, if they do reach that amount. It's just
   18   that goes into your analysis?                      18   very important to our use.
   19         A. I sometimes will look to see how          19        Q. Why not just have unlimited
   20   many other pharmacies are in the immediate area    20   opioids flowing into society? Why have a limit?
   21   also.                                              21            MR. CLARK: Objection to
   22         Q. Okay. Anything else?                      22        form.
   23             MR. CLARK: Objection to                  23        A. That's not the right thing to do.
   24         form.                                        24        Q. Why?
                                                Page 27                                                Page 29
    1         Q. I'm not suggesting there is. I'm           1             MR. CLARK: Same objection.
    2   just asking. Does that cover it?                    2         A. Because they have to be prescribed
    3         A. Not that I can think of.                   3   for a legitimate purpose and it's -- you know.
    4         Q. Fair enough.                               4         Q. Let me show you what -- your
    5             Do you take the duty and                  5   father's words. This is going to be on page 28
    6   responsibility of setting a threshold seriously,    6   of his deposition as a 30(b) rep, line 4.
    7   especially when it comes to narcotics -- well,      7             "Tell us, tell the jury why we
    8   do you only set thresholds for narcotics?           8   want to prevent diversion of controlled
    9         A. No.                                        9   substances."
   10             MR. CLARK: Objection.                    10             "Well, as it states, we -- it can
   11         A. No.                                       11   be dangerous. People can die. People can have
   12         Q. What other medications?                   12   bad effects and they can be abused. None of
   13         A. We have -- phentermine is on              13   that is something that we want to happen. We
   14   there, carisoprodol, tramadol, prometh with        14   want the good effects, not the bad effects."
   15   codeine. That is, codeine is an opioid, so         15             Do you agree?
   16   narcotics, yes.                                    16             MR. CLARK: Objection to
   17         Q. Okay. So the setting of the               17         form.
   18   threshold, is that a duty and responsibility you   18         A. I agree that's his opinion.
   19   take very seriously?                               19         Q. Not yours?
   20         A. Yes.                                      20             MR. CLARK: Same objection.
   21         Q. And do you put the time and the           21         A. I agree it could be dangerous,
   22   effort in there in order to ensure you perform     22   yes.
   23   the due diligence to come up with what you         23         Q. People can die, right?
   24   believe to be an accurate threshold?               24             MR. CLARK: Same objection.

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    1         A. It's a possibility.                        1   back to '96.
    2         Q. Does that play into why you want           2         Q. Okay. Fair enough. Let's deal
    3   to set a threshold, so that you can control the     3   with that. Okay. When were the thresholds set?
    4   amount of opioids that are flowing into specific    4         A. 2008.
    5   geographical areas of our country?                  5         Q. Okay. You didn't have thresholds
    6             MR. CLARK: Objection to                   6   before then?
    7         form.                                         7             MR. CLARK: Objection. Asked
    8         A. Well, I set a threshold by what            8         and answered.
    9   the customer tells me.                              9         Q. And I'm not here to confuse you.
   10         Q. What do you mean, what they tell          10   I know that in 2008 you instituted a program
   11   you?                                               11   that did a stop based on the thresholds. I
   12         A. On their questionnaire.                   12   understand that and I'm not here -- I'm not here
   13         Q. You're the one that decides,              13   to trick you or anything. But I believe I've
   14   though, right? Ultimately.                         14   seen documentation that there were thresholds
   15             MR. CLARK: Objection to                  15   set before then, even though they may have been
   16         form.                                        16   handled differently.
   17         A. How do I say -- I don't know if I         17             So before 2008 and after 2008 may
   18   totally agree with that, but ...                   18   be how we tackle this.
   19         Q. But you do know that the law puts         19             Before 2008, when you had the stop
   20   the duty on your shoulders as the distributor to   20   shipment threshold system -- am I right? You
   21   ensure that there aren't unusual amounts or        21   had a threshold system implemented in 2008?
   22   frequency of amounts into society, right?          22             MR. CLARK: Objection to
   23             MR. CLARK: Objection to                  23         form.
   24         form.                                        24         A. In 2008, yeah.
                                                Page 31                                                 Page 33
    1         A. That's what the law says, yes.             1         Q. Yes, sir.
    2         Q. And you're required to abide by            2         A. Yes.
    3   the law, right?                                     3         Q. And so before that, did you have
    4            MR. CLARK: Objection to                    4   thresholds on opioids or not?
    5         form.                                         5            MR. CLARK: Same objection.
    6         A. Yes.                                       6         A. I can't recall.
    7         Q. Let's talk about what you do if            7         Q. Okay. I know you've worked there
    8   someone meets their thresholds on an opioid.        8   for some time now, but you don't recall whether
    9   They've reached their limit, so to speak. What      9   there were thresholds on opioids before 2008?
   10   is your process in order to determine -- well,     10         A. Before 2008, a lot of people sent
   11   what is your process when that happens?            11   C-II forms in, all right, and I was able to put
   12            And I want to be clear. If that's         12   orders in. I could look at history, and that's
   13   changed in the last -- let's say since 1996. If    13   how I, you know, was able to determine if
   14   your process has changed, let me know.             14   somebody was buying more than what they usually
   15            But if somebody hits their limit,         15   did. So it was a sales history tool I used at
   16   I'm told you're notified; is that accurate?        16   that time.
   17         A. The computer, yes, lets me know,          17         Q. All right.
   18   yes, correct.                                      18         A. And I still use that today.
   19         Q. Yes, sir. And then I want to be           19         Q. Let's talk about that process
   20   in your shoes in that chair when that happens.     20   before 2008 as best you can recall, okay?
   21   What do you do?                                    21         A. Uh-huh.
   22            MR. CLARK: Objection to                   22         Q. All right. So would you still be
   23         form.                                        23   notified if somebody hit their threshold before
   24         A. Okay. So the thresholds don't go          24   2008?

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     1             MR. CLARK: Objection to                   1   with your eyeball with the sales history; is
     2         form.                                         2   that fair to say?
     3         A. I don't believe there was a                3             MR. CLARK: Objection to
     4   threshold.                                          4         form.
     5         Q. Okay.                                      5         A. No. I monitor it with the
     6         A. I would -- you know, if a customer         6   computer. The computer told me that, you know,
     7   sent me in a form, okay, I'd put the order in       7   what they bought in the past of those particular
     8   the computer.                                       8   items, yes.
     9         Q. Right.                                     9         Q. So you would look at that when you
    10         A. And as I'm putting it in by items,        10   were filling new orders?
    11   I can go back and look at sales history to         11         A. That's correct.
    12   determine what they bought, you know, in the       12         Q. Got it.
    13   past.                                              13             2008 forward, how would you
    14         Q. I see.                                    14   determine whether to raise a threshold?
    15         A. Okay? And that's how I determined         15         A. The questionnaire, okay, how many
    16   a lot of -- you know, how I could tell where       16   scripts they do, all right, a day, the type of
    17   they were at for the month and what they were      17   business they are, okay, if -- just the type of
    18   buying and if it was unusual.                      18   pharmacy.
    19         Q. I got it. And you're right.               19         Q. That sounds like -- correct me if
    20   There wasn't a quote/unquote "threshold" before    20   I am wrong. That sounds like the same
    21   2008 established by your company, correct?         21   information you would use to set the actual
    22             MR. CLARK: Objection to                  22   initial threshold.
    23         form.                                        23             MR. CLARK: Objection to
    24         Q. Not that you didn't review things.        24         form.
                                                 Page 35                                                 Page 37
     1   I'm not disputing what you just told me. But        1        Q. When I asked you how you would
     2   there wasn't a number-of-pills threshold            2   establish a threshold initially with these
     3   established by you before 2008, correct?            3   folks, I thought you said those very same
     4            MR. CLARK: Same objection.                 4   things; is that right?
     5         A. Not one that was set in the                5        A. That's correct, yes.
     6   computer.                                           6        Q. So the same information would
     7         Q. Right.                                     7   allow you to raise the threshold?
     8         A. So --                                      8        A. Are you asking about raising?
     9         Q. Did you have one not set in the            9        Q. Yeah.
    10   computer?                                          10             MR. CLARK: I think you
    11         A. No. No.                                   11        misunderstood. He said "raise"
    12         Q. Okay. All right. And then 2008,           12        versus "set."
    13   that's when you established the threshold system   13        A. Okay. All right.
    14   and you established thresholds, and you did it     14        Q. I did.
    15   the way you just described to me, correct?         15        A. Okay.
    16            MR. CLARK: Objection to                   16        Q. So let me go ahead and ask it
    17         form.                                        17   again, fair?
    18         Q. Questionnaire and the other               18        A. Yes.
    19   information you may review, right?                 19        Q. Will you please let me know, if
    20         A. That's -- yes.                            20   you would, 2008 moving forward to present day,
    21         Q. But before that time, you                 21   what type of information you would review in
    22   basically -- you would get the orders coming in    22   order to raise that initial threshold?
    23   and you would see what's being filled and what's   23        A. Okay. So the initial thresholds
    24   being -- you would monitor it, I guess, more       24   sometimes are set lower because it's a newer

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     1   customer, okay?                                     1   that time so that they can put an order in,
     2         Q. Okay.                                      2   because they'll be on vacation for a week or so,
     3         A. And as they get established with           3   just so they have the stock.
     4   me, I know more about the buying pattern, okay,     4          Q. All right. I want to show you a
     5   communication with the pharmacy. I call the         5   document. So this is going to be PSI
     6   pharmacies a lot, talk to the pharmacist. I         6   30(b)-301-001.
     7   have paperwork they fill out that asks them         7              You're looking at a letter that
     8   questions about why they would want an increase     8   was issued to Cardinal September 27th, 2006, and
     9   on a particular item.                               9   I'll tell you that it's basically been
    10         Q. And so what type of paperwork             10   stipulated that all the distributors got a
    11   would that be that you would provide to them?      11   letter such as this, similar to this, and I
    12         A. I have -- when I call them on the         12   think your dad and your cousin, Candace, has
    13   phone, I will let them know there's an             13   already testified to that.
    14   increase -- there's a paperwork where they can     14              Do you remember seeing this
    15   get -- they can ask for an increased amount of a   15   letter? Not this letter, but obviously a
    16   particular product they are in need of.            16   similar letter.
    17         Q. Okay.                                     17              MR. CLARK: Objection to
    18         A. Okay.                                     18          form.
    19         Q. So you'll look at that form?              19          Q. And you can take a moment to look
    20         A. I'll fax it to them or it goes            20   it over. I'm not trying to rush you.
    21   with the driver to them and gets dropped off       21              You don't have to read the whole
    22   after I call them, okay. And then when I get it    22   thing.
    23   back, that's when I review it, yes.                23          A. I don't recall. I don't recall
    24         Q. What in your mind are legitimate          24   it, no.
                                                 Page 39                                                 Page 41
     1   reasons for increasing a threshold based on         1       Q.       Fair enough.
     2   their filling out of that paperwork?                2              So I do want to talk to you a
     3              MR. CLARK: Objection to                  3   little bit about kind of some of the things that
     4         form.                                         4   are brought up in this letter, see if these are
     5         A. There could be many things. A              5   concepts that you recall. So we'll talk about
     6   pharmacy in the area could have closed.             6   the first paragraph, if you don't mind.
     7         Q. Okay.                                      7              It says, "This letter is being
     8         A. There may be new doctors in that           8   sent to every commercial entity in the
     9   particular area. Population growth. Maybe           9   United States registered with the Drug
    10   they're getting more patients now.                 10   Enforcement Administration to distribute
    11              There's a lot of reasons that come      11   controlled substances."
    12   into play that --                                  12              That would certainly be PSI,
    13         Q. Any others that you can think of?         13   correct?
    14   And I know you're not doing an exhaustive list,    14          A. Yes.
    15   but any others you can think of?                   15          Q. "The purpose of this letter is to
    16              MR. CLARK: Objection to                 16   reiterate the responsibilities of controlled
    17         form.                                        17   substance distributors in view of the
    18         A. Sometimes the pharmacy will call          18   prescription drug abuse problem our nation
    19   and let me know that if a pharmacist is going to   19   currently faces."
    20   be off, okay, if the main pharmacist or the        20              Under "Background," it says, "As
    21   pharmacist in charge is going to be off and        21   each of you is undoubtedly aware, the abuse,
    22   somebody else is there who has not the             22   non-medical use, of controlled prescription
    23   capability to buy -- purchase controls, they'll    23   drugs is a serious and growing health problem in
    24   ask me, okay, if I can raise it for them for       24   this country. DEA has an obligation to combat

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     1   this problem as one of the agency's core            1        A. That wouldn't meet -- if there was
     2   functions is to prevent the diversion of            2   a suspicious order, I would have sent them
     3   controlled substances into illicit channels."       3   information separate from this.
     4             You're aware that that's one of           4        Q. Separate from that?
     5   their duties and responsibilities, the DEA?         5        A. That's right, yes. That's
     6         A. Yes.                                       6   correct.
     7         Q. "Congress assigned DEA to carry            7        Q. We'll talk about the report
     8   out this function through enforcement of the        8   specifically, but why don't you tell me what
     9   Controlled Substance Act and DEA regulations        9   type of information you would send to the DEA
    10   that implement the Act."                           10   before 2008, when you initiated the --
    11             Specifically, on the second page,        11   specifically, the threshold system.
    12   middle part there, I want to talk to you about     12            MR. CLARK: Objection to
    13   where it says, "The DEA regulations require all    13        form.
    14   distributors to report suspicious orders of        14        Q. What did you send?
    15   controlled substances." Specifically, the          15        A. Okay. Can you repeat that?
    16   regulations state in 21 C.F.R. 1301.74(b), "The    16        Q. Sure. Yeah. Your -- Kirk, do you
    17   registrant shall design and operate a system to    17   know who Kirk is?
    18   disclose to the registrant suspicious orders of    18        A. Yes, I do.
    19   controlled substances. The registrant shall        19        Q. He testified here today he was the
    20   inform the Field Division Office of the            20   IT guy and he would do these reports pursuant to
    21   Administration in this area of suspicious orders   21   these rules and submit those reports every
    22   when discovered by the registrant. Suspicious      22   month.
    23   orders include orders of unusual size, orders      23        A. Yes.
    24   deviating substantially from a normal pattern,     24        Q. Okay. As part of the suspicious
                                                 Page 43                                                 Page 45
     1   and orders of unusual frequency."                   1   order monitoring requirement under the federal
     2            Are you aware that your company,           2   regulations, but you're saying no --
     3   PSI, specifically submitted reports in writing      3            MR. CLARK: Objection to
     4   every month from approximately 1997 to 2013?        4         form. Misstates prior testimony.
     5            MR. CLARK: Objection to                    5         Q. You're saying no, he wasn't doing
     6         form.                                         6   it pursuant to the regulations; is that right?
     7         A. There was a variance report, yes.          7            MR. CLARK: Same objection.
     8   I did look at that too.                             8         A. No. No. These were sent, but
     9         Q. Okay. And you're aware that the            9   this didn't -- just because this was sent
    10   law requires a suspicious order report be          10   doesn't constitute those as suspicious orders.
    11   submitted?                                         11   There could have been a suspicious order that
    12         A. Yes.                                      12   wouldn't show up on that report.
    13            MR. CLARK: Objection. Form.               13         Q. That wouldn't have shown up?
    14         Q. And that qualified, pursuant to           14         A. Yeah. It's possible, yes.
    15   PSI, as meeting your responsibilities under the    15         Q. For example?
    16   federal law, specifically the one that you're      16            MR. CLARK: Objection to
    17   looking at right here in that regard; fair to      17         form.
    18   say?                                               18         A. I -- I -- I never had one, but,
    19            MR. CLARK: Objection to                   19   you know, it would be possible. This report was
    20         form.                                        20   a variance report which just said, you know, if
    21         A. No, I don't agree with that. That         21   somebody bought more than what the average was
    22   didn't meet suspicious order monitoring.           22   we sold per month.
    23         Q. Okay. You had a different                 23         Q. All right. So you did not -- your
    24   monitoring system?                                 24   testimony here today is that report was not in

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     1   fulfillment of the duties and responsibilities      1         Q. What is the criteria?
     2   of the Code of Federal Regulations, correct?        2            MR. CLARK: Same objection.
     3             MR. CLARK: Objection to                   3         Q. One at a time, if you don't mind.
     4         form.                                         4         A. Okay. So what's the first
     5         A. I can't answer that. I don't               5   question?
     6   know -- I mean, it requires more than that.         6         Q. I want you to define a suspicious
     7             MR. CLARK: Objection. Calls               7   order since you're the only one that can do that
     8         for legal conclusion.                         8   for PSI.
     9         Q. You said, "We sent" -- "I sent             9            MR. CLARK: Objection to
    10   other reports." What other reports did you         10         form. Asked and answered.
    11   send?                                              11         A. Okay. So a suspicious order to me
    12             MR. CLARK: Objection.                    12   is --
    13         Misstates his testimony.                     13         Q. Yeah, what defines as a -- well,
    14         A. Yeah. I didn't say I sent                 14   let me say this: Can you and I agree that the
    15   reports.                                           15   law defines what a suspicious order is, right?
    16         Q. All right. What did your company          16            MR. CLARK: Objection to
    17   do, PSI, in regards to -- well, first of all,      17         form.
    18   let's get on the same page. What's a suspicious    18         A. That's what the law is, yes.
    19   order? How do you define a suspicious order?       19         Q. Unusual size, orders deviating
    20         A. How do I define -- a suspicious           20   substantially from a normal pattern, an order of
    21   order to me is if I contact the customer after     21   unusual frequency. That is a suspicious order,
    22   an order goes on hold that I'm curious about, an   22   correct?
    23   order of interest, and I don't get an answer       23            MR. CLARK: Objection to
    24   that I believe I can be comfortable with, then     24         form.
                                                 Page 47                                                 Page 49
     1   that is a suspicious order.                         1         A. According to the law, correct.
     2         Q. All right. Let's baby-step that.           2         Q. According to the law?
     3   So a suspicious order for you isn't a               3         A. Yes.
     4   significant variance of what they've ordered        4         Q. Do you have a different
     5   before, right?                                      5   understanding in PSI?
     6         A. That can be part of it.                    6         A. No. I go -- do I have a different
     7         Q. It can be part of it.                      7   understanding? No.
     8             So the suspicious order, if I'm           8         Q. Okay. So my understanding is, is
     9   hearing you right, you are the only one in the      9   that you came up with -- or Online Systems or
    10   company that can determine what a suspicious       10   Services, Inc. came up with a reporting
    11   order is?                                          11   mechanism for your company in May of 1997 with
    12             MR. CLARK: Objection to                  12   the help of the DEA to fulfill this requirement.
    13         form.                                        13             MR. CLARK: Objection to
    14         Q. Is that right?                            14         form.
    15             MR. CLARK: Same objection.               15         A. I wasn't -- I was not part of
    16         A. I -- that's my job.                       16   that.
    17         Q. All right. Well, I'm glad you're          17         Q. Do you have an understanding of
    18   here.                                              18   why those reports that were submitted from May
    19             So tell me the criteria for you          19   of 1997 to 2013, what the purpose of those
    20   being the sole person responsible for knowing      20   reports were, or did you even know they were
    21   what a suspicious order is for PSI. What           21   submitting reports?
    22   qualifies as a suspicious order pursuant to you?   22             MR. CLARK: Hold on a second.
    23             MR. CLARK: Objection to                  23         Let me get my objection.
    24         form.                                        24             Objection to form.

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     1             Go ahead.                                1   testified here today what he thought the purpose
     2         Q. You knew they were submitting             2   was for, knew what the purpose of the form was
     3   them --                                            3   for?
     4             THE COURT REPORTER: I didn't hear        4             MR. CLARK: Objection to
     5   the answer.                                        5         form. Objection; argumentative.
     6         Q. What is your understanding of what        6             Let me get my objections in
     7   the purpose of those forms are?                    7         before you answer, Jim.
     8             MR. CLARK: Objection to                  8         A. Are you asking me Kirk's opinion?
     9         form.                                        9         Q. Do you think Kirk knew what his
    10         A. Okay. So those forms were -- that        10   job was?
    11   report gave the average amount of what we sold    11             MR. CLARK: Objection to
    12   to all of our customers for that month, okay?     12         form. Objection; argumentative.
    13   And anybody that went above that average showed   13         A. Yes.
    14   up on the report that was submitted to the DEA.   14         Q. Okay. Let's go beyond Kirk.
    15         Q. That is, by definition, orders           15   Let's go beyond his testimony. Let's talk about
    16   that deviate according to this rule, right?       16   the company's policies and procedures.
    17             MR. CLARK: Objection to                 17             Are you aware there's policies and
    18         form.                                       18   procedures?
    19         Q. Let me strike that.                      19             MR. CLARK: Objection to
    20             Why was that the system that was        20         form.
    21   developed with the help of the DEA? What was      21         A. Yes.
    22   your understanding of the purpose of working      22         Q. Okay. All right. We're going to
    23   with the DEA to submit those reports that were    23   look -- the first one is going to be called the
    24   specifically called suspicious order monitoring   24   Controlled Substances, which was initiated or
                                                Page 51                                                 Page 53
     1   reports?                                           1   effective date of 2000, June of 2000.
     2            You're aware they're called that?         2             All right. This is the policy
     3         A. Yes.                                      3   specifically dealing with controlled substances
     4            MR. CLARK: Objection to                   4   for your company.
     5         form. Objection; argumentive.                5             MR. CLARK: Do you have a
     6            You can answer.                           6         copy of that?
     7         Q. But it's your testimony today, is         7             MR. REINS: I told you I was
     8   they were not suspicious order monitoring          8         going to reuse it, what we used
     9   reports?                                           9         earlier.
    10            MR. CLARK: Objection to                  10             MR. CLARK: I'm sorry. Yeah.
    11         form.                                       11   BY MR. REINS:
    12         A. That's what they were called.            12         Q. "Regarding controlled substances,
    13         Q. Were they misleading?                    13   Prescription Supply, Inc. will maintain proper
    14            MR. CLARK: Objection to                  14   security, document and monitor all transactions
    15         form. Objection; argumentative.             15   according to state and federal regulations."
    16         A. I wasn't involved -- I wasn't            16             The scope of this will apply to
    17   involved in naming the report.                    17   several folks, including yourself and the IT
    18         Q. Do you believe the DEA was misled        18   manager, correct?
    19   into what that report -- the purpose of what      19             MR. CLARK: Objection. Form.
    20   that report was for?                              20         Q. Under "Scope," second paragraph?
    21            MR. CLARK: Objection to                  21         A. Okay. So what was your -- I see
    22         form.                                       22   that.
    23         A. No.                                      23         Q. Under "Responsibilities," it says,
    24         Q. Do you believe that Kirk, who            24   third paragraph, "IT manager shall compile

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     1   reports monthly regarding purchases of              1   agreements" -- "reports," I'm sorry -- "consult
     2   controlled substances threshold limits and          2   with IT manager for necessary changes, and
     3   suspicious order monitoring."                       3   handle any concerns or problems as they arise.
     4            Do you see that?                           4   Notification of appropriate agencies is to be
     5         A. Yes.                                       5   done in the event of concern regarding any
     6         Q. Okay. If you go on the next page,          6   suspicious order."
     7   it says on the first full paragraph, "IT manager    7              You've read this policy before
     8   shall compile reports monthly regarding             8   today, right?
     9   purchases of controlled substances, threshold       9         A. Yes. It's been a while. Yes.
    10   guidelines, and suspicious order monitoring.       10         Q. All right. Now we're going to
    11   Reports are to automatically be forwarded to       11   look at -- oh, and I'm sorry. I don't know if
    12   relevant agencies and DEA as appropriate."         12   I -- for the record, that was PSI653 and 654.
    13            Kirk, who is the IT manager -- can        13              We're going to now look -- yeah.
    14   we agree on that?                                  14   We're going to now look at another policy and
    15         A. Yes.                                      15   procedure, PSI, starting with 84, and this is
    16         Q. -- talks about that these reports         16   Inventory Controls.
    17   were the reports that he forwarded in compliance   17              I think I might have an extra copy
    18   with the federal regulations and the company's     18   of this one. Yep.
    19   policies and procedures regarding suspicious       19         A. Thanks.
    20   order monitoring, to be clear, the suspicious      20         Q. Yes, sir.
    21   order monitoring reports.                          21              Now, have you seen this policy
    22            Are you testifying here today that        22   before?
    23   in contradiction to Kirk, the policy, procedure,   23         A. Yes.
    24   federal regulation, that those reports were not    24         Q. It says, "Prescription Supply,
                                                  Page 55                                               Page 57
     1   submitted for that purpose?                         1   Inc. will monitor inventory for cyclical
     2             MR. CLARK: Objection to                   2   accounts, suspicious purchases and losses,
     3         form. Objection to speech.                    3   theft, or otherwise missing products."
     4         Objection; misstates Kirk's prior             4             And this was effective again in
     5         testimony.                                    5   June of 2000, correct?
     6             You can answer.                           6             MR. CLARK: Objection to
     7         A. No, they were part of that.                7         form.
     8         Q. Okay.                                      8         A. That's what it says, yes.
     9         A. They were part of the submittal,           9         Q. Are you aware of any policies and
    10   yes.                                               10   procedures that were enacted regarding
    11         Q. All right. Now, the next part --          11   controlled substances and/or inventory controls
    12   actually, forgive me. The next paragraph           12   before 2000?
    13   says -- or actually, the last sentence, it says,   13         A. Ask that one more time.
    14   "Copies are to be given to DR/DR supervisor with   14         Q. Are you aware of any policies and
    15   all concerns discussed."                           15   procedures that came before these in 2000
    16             Who would that be, the DR/DR             16   dealing with the issues we're discussing here
    17   supervisor?                                        17   today?
    18         A. My dad saw those, Thomas Schoen.          18             MR. CLARK: Objection to
    19         Q. Fair enough.                              19         form.
    20         A. And I also reviewed them.                 20         A. I can't remember.
    21         Q. You reviewed it as well?                  21         Q. Fair enough.
    22         A. Yes.                                      22             "Policy: Prescription Supply,
    23         Q. Okay. It says, "DR/DR supervisor          23   Inc. will monitor inventory for" -- I'm sorry.
    24   shall review all relevant purchase and sales       24   Forgive me. This applies again to a number of

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     1   folks, including you and the IT manager.            1             MR. CLARK: Objection to
     2             I want to talk to you about               2         form.
     3   "Responsibilities" at the bottom of the page.       3         A. Not the question -- this is
     4   "IT managers shall be responsible for suspicious    4   separate from the questionnaire, after the fact,
     5   order monitoring reports and sharing concerns       5   after I have talked and spoken to the pharmacy.
     6   with DR/DR supervisor. He/she is responsible        6         Q. What do you create? What's the
     7   for sending all reports to DEA and governing        7   document?
     8   state agencies and maintaining records for at       8             MR. CLARK: Objection to
     9   least six years as required by law."                9         form.
    10             And you understand that at least         10         A. It's an increased controlled
    11   from 1997 to 2013, according to Kirk's             11   substance purchase form they fill out.
    12   testimony, these were the only reports that were   12         Q. Do you specify the reasons for
    13   submitted during that time period? You're aware    13   which you approve the increase of the threshold?
    14   of that, correct?                                  14         A. I ask the pharmacist for the
    15             MR. CLARK: Objection to                  15   reasons why they want an increase.
    16         form.                                        16         Q. Right. But the form that you fill
    17         A. Yes.                                      17   out, you fill out the form, right?
    18         Q. Okay. Now, next paragraph,                18         A. No. The pharmacy fills out the
    19   "Controlled substance handler shall be             19   form.
    20   responsible for monitoring all controlled drug     20         Q. Okay. What I'm asking you, is
    21   purchases in coordination with IT manager.         21   there any documentation that you create for
    22   He/she shall report any unaccounted losses or      22   justifying the increase of a threshold that you
    23   problems to DR/DR supervisor, and when             23   document, that you create?
    24   delegated, to appropriate authority, Northwood     24             MR. CLARK: Objection to
                                                 Page 59                                                 Page 61
     1   Police/DEA. Controlled substances handlers          1         form.
     2   shall also document all transactions and            2         A. No.
     3   communications, holding copies of all paperwork     3         Q. Okay. Do you still have that
     4   as required by law for at least six years."         4   letter from the DEA?
     5             We talked about establishing the          5             MR. CLARK: The one you
     6   thresholds, right? I think I asked you, you did     6         showed him here?
     7   not create any documentation when you               7             MR. REINS: Yes.
     8   established the initial threshold. Did you          8             MR. CLARK: It's a broad
     9   create any documentation when you raised            9         question.
    10   thresholds?                                        10         A. The Cardinal Health one?
    11             MR. CLARK: Objection to                  11         Q. The one I handed you, yes, sir.
    12         form.                                        12         A. Yes.
    13         A. What do you mean, "create"?               13         Q. The one dated September 27, 2006?
    14         Q. Did you create a form? Did you            14         A. Yes.
    15   have any documentation to show why you raised      15         Q. We kind of got a little off track
    16   it, what your thought processes were?              16   through my fault, but what I want to talk to you
    17             MR. CLARK: Objection to                  17   about -- I think we got through the regulation.
    18         form.                                        18             You agree that the increasing of a
    19         A. I have the paper that is the              19   threshold is an important responsibility?
    20   increase for the customer that I give them.        20             You've got to be careful before
    21         Q. Yeah. I got it; you get the               21   you increase a threshold, right?
    22   questionnaire back. But do you create any          22             MR. CLARK: Objection to
    23   paperwork justifying the raising of a threshold    23         form.
    24   that you initially set?                            24         A. I have to verify with the customer

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     1   the reasoning for that.                             1   the name of that first medicine, narcotic?
     2         Q. Right. Is it more than just a              2         A. Phentermine.
     3   phone call and taking their word, though?           3         Q. And then what's the next one?
     4         A. Yes. I have paperwork I give               4         A. Hydrocodone.
     5   them.                                               5         Q. And then the last one?
     6         Q. Right. For instance --                     6         A. Alprazolam.
     7         A. Yes.                                       7         Q. "While ordering few, if any, of
     8            MR. CLARK: Go ahead. Do you                8   other drugs."
     9         have something you want to say?               9             Would you agree that that is
    10         A. It is more than that. It is the           10   potentially indicative of diversion, that
    11   relationship I've established with the customer,   11   behavior?
    12   how long I've been dealing with them. A lot of     12             MR. CLARK: Objection to
    13   things take place.                                 13         form.
    14         Q. Sure. Especially if they've been          14         Q. Number 1.
    15   ordering a consistent amount of narcotics, and     15         A. No, not always.
    16   then after all these years of a relationship,      16         Q. No. I'm just asking you if that's
    17   they ask for more, right?                          17   a circumstance that might be indicative of
    18            MR. CLARK: Objection to                   18   diversion.
    19         form.                                        19             MR. CLARK: Objection to
    20         Q. That would be something you'd             20         form.
    21   consider, right?                                   21         A. That's a circumstance why I may
    22            MR. CLARK: Objection to                   22   want to call the pharmacy, yes.
    23         form.                                        23         Q. Well, you'd definitely want to
    24         A. What do you mean?                         24   call the pharmacy --
                                                 Page 63                                                 Page 65
     1         Q. That's okay. I'll ask it                   1             MR. CLARK: Objection to
     2   differently.                                        2         form.
     3             Look at page 3, if you don't mind,        3         Q. -- at a minimum, right?
     4   on the DEA letter.                                  4             MR. CLARK: Objection to
     5         A. Okay.                                      5         form.
     6         Q. Can you and I agree that a                 6         A. Yes, I'd do that.
     7   pharmacist -- or a customer, let me just say,       7         Q. "2. Ordering a limited variety of
     8   requesting more than the threshold that you         8   controlled substances in quantities
     9   established, is suspicious?                         9   disproportionate to the quantity of
    10             MR. CLARK: Objection to                  10   non-controlled medications ordered."
    11         form.                                        11             Would you agree that could raise a
    12         A. No.                                       12   red flag?
    13         Q. Okay. All right. I'd like to              13         A. At times, yes.
    14   talk to you about -- so on this page, it says,     14         Q. "3. Ordering excessive quantities
    15   "Circumstances that might be indicative of         15   of a limited variety of controlled substances in
    16   diversion. DEA investigations have revealed        16   combination with excessive quantities of
    17   that certain pharmacies engaged in                 17   lifestyle drugs."
    18   dispersing" -- "dispensing controlled substances   18             Would that raise a concern?
    19   for other than a legitimate medical purpose        19         A. What's a lifestyle drug? Can you
    20   often display one or more of the following         20   explain it to me, what they mean by that?
    21   characteristics in their pattern of ordering       21         Q. Did you ever ask the DEA what they
    22   controlled substances: "1. Ordering excessive      22   meant by that?
    23   quantities of a limited variety of controlled      23             MR. CLARK: Objection to
    24   substances, ergo ordering only" -- do you know     24         form.

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     1        A. No.                                         1         Q. Sorry. Is that a question that
     2        Q. "4. Ordering the same controlled            2   you should ask if they -- before raising a
     3   substance from multiple distributors."              3   threshold? Or actually, even before
     4             That would certainly raise a flag,        4   establishing a threshold, right?
     5   right?                                              5             MR. CLARK: Objection to
     6             MR. CLARK: Objection to                   6         form.
     7        form.                                          7         A. You mean before establishing as a
     8        A. Yeah. That's very hard to tell.             8   customer?
     9   I can't tell if people do that, but I do ask        9         Q. Yes.
    10   that question on the questionnaire.                10         A. Yeah, I ask that on the
    11        Q. And that's fair. You put a lot of          11   questionnaire. I do ask this question. And
    12   weight in the questionnaire. Do you believe        12   they will -- I will get a dispensing report too
    13   these pharmacists are all -- do you believe        13   that I will sometimes try to match up with what
    14   there's a high level of honestly in the            14   they tell me on their purchases.
    15   completion of these questionnaires that you give   15         Q. What is a dispensing report?
    16   them?                                              16         A. Pharmacy, a dispensing report --
    17             MR. CLARK: Objection to                  17   you know, it's what they dispense, all the
    18        form.                                         18   medications they dispense for the month.
    19        A. When I get the questionnaires?             19         Q. Okay.
    20        Q. Yeah. Do you believe they're               20             "2. Is the pharmacy complying
    21   being honest with you?                             21   with the laws of every state in which it is
    22             MR. CLARK: Objection to                  22   dispensing controlled substances?"
    23        form.                                         23             Is that something you ask?
    24        A. I've had questionnaires that have          24         A. I ask what they're licensed in.
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     1   been falsified, yes, that I've identified.          1         Q. Okay. Do you ask if they're
     2        Q. So you know that that can happen,           2   compliant with the laws?
     3   right?                                              3         A. Do I ask that on the
     4        A. Yes.                                        4   questionnaire?
     5        Q. Meaning just because they say it            5         Q. Or when you pick up the phone?
     6   doesn't mean it's necessarily true, right?          6             MR. CLARK: Objection to
     7            MR. CLARK: Objection to                    7         form.
     8        form.                                          8         A. I believe that question is on the
     9        A. Possibly, yes.                              9   questionnaire.
    10        Q. So it says, "A distributor" --             10         Q. "3. Is the pharmacy soliciting
    11   underneath that -- "seeking to determine whether   11   buyers of controlled substances via the Internet
    12   a suspicious order is indicative of diversion of   12   or is the pharmacy associated with an Internet
    13   controlled substances to other than legitimate     13   site that solicits orders for controlled
    14   medical channels may wish to inquire with the      14   substances?"
    15   ordering pharmacy about the following: 1, what     15             Is that on your questionnaire?
    16   percentage of the pharmacy's business does         16         A. Yes. We do ask if it's an
    17   dispensing controlled substances constitute?"      17   Internet pharmacy, if that's what you're asking.
    18            You agree that's a legitimate             18         Q. Yes.
    19   question?                                          19         A. Yes. We've never dealt with an
    20            MR. CLARK: Objection to                   20   Internet pharmacy.
    21        form.                                         21         Q. You don't?
    22        A. Yes.                                       22         A. Never.
    23        Q. Is that a question --                      23         Q. Okay. Do you deal with a
    24        A. Yes, I do. Yes.                            24   pharmacy -- so you don't deal with any

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     1   pharmacies that solicit via the Internet?           1   appropriate.
     2              MR. CLARK: Objection to                  2         Q. Okay. And you would be nervous if
     3         form.                                         3   a pharmacy filled scripts that way, right?
     4         A. We don't deal with any pharmacies          4             MR. CLARK: Objection to
     5   that are Internet pharmacies at all. You have       5         form.
     6   to walk into the pharmacy to pick up your           6         A. I would not be comfortable with
     7   prescription.                                       7   that.
     8         Q. I know, but can a pharmacy solicit         8         Q. May be a good question to ask them
     9   Internet business, even if it's a bricks and        9   in the future?
    10   mortar?                                            10             MR. CLARK: Objection to
    11              MR. CLARK: Objection.                   11         form.
    12         A. They can have a website.                  12         A. Yeah.
    13         Q. Right. And can they solicit               13         Q. "6. Are the prescribing
    14   business that way?                                 14   practitioners licensed to practice medicine in
    15              MR. CLARK: Objection to                 15   the jurisdictions to which the controlled
    16         form.                                        16   substances are being shipped, if such a license
    17         A. Solicit business?                         17   is required by state law?"
    18         Q. Yes, via the Internet.                    18             Do you ensure or do you require
    19              MR. CLARK: Same objection.              19   that you get a license -- proof of license of
    20         A. They can make people aware they           20   all the pharmacists?
    21   are there.                                         21         A. Yes, of the pharmacists, yes.
    22         Q. "4. Does the pharmacy or Internet         22         Q. Is that going to be in your file?
    23   site affiliated with the pharmacy offer to         23             MR. CLARK: Objection to
    24   facilitate the acquisition of a prescription for   24         form.
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     1   a controlled substance from a practitioner with     1         A. We ask for the license number and
     2   whom the buyer has no preexisting relationship?"    2   stuff like that, and we review them and we go
     3             Do you ask that question?                 3   online to make sure they're still active.
     4         A. Which page is that?                        4         Q. Has it come to your attention that
     5         Q. Number 4. Do you ask that?                 5   some of the pharmacists you supplied were not
     6         A. We ask that question, yes.                 6   licensed in the state they represented?
     7         Q. Okay. "5. Does the pharmacy fill           7             MR. CLARK: Objection to
     8   prescriptions issued by practitioners based         8         form.
     9   solely on an online questionnaire without a         9         A. Say that one more time.
    10   medical examination or bona fide doctor/patient    10         Q. Have you ever found out that any
    11   relationship?"                                     11   of the pharmacists were unlicensed?
    12             Do you ask that question, if you         12             MR. CLARK: Objection to
    13   know?                                              13         form.
    14         A. Okay. We don't ask that specific          14         A. No.
    15   question, no.                                      15         Q. You don't remember any
    16         Q. Seem like a good question to ask?         16   investigations into that?
    17             MR. CLARK: Objection to                  17         A. I don't recall, no.
    18         form.                                        18         Q. "7. Are one or more of the
    19         A. So that question is asking if they        19   practitioners writing a disproportionate share
    20   just -- they don't see the patient?                20   of the prescriptions for controlled substances
    21         Q. Right.                                    21   being filled by the pharmacy?"
    22         A. It's just online?                         22             Is that a question you ask?
    23         Q. Right.                                    23         A. Yes.
    24         A. Well, I don't believe that's              24         Q. "8. Does the pharmacy offer to

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     1   sell controlled substances without a                1        Q.    And that takes time, right?
     2   prescription?"                                      2             MR. CLARK: Objection to
     3             Do you ask that?                          3         form.
     4         A. No, we do not ask that.                    4         A. Yes.
     5         Q. "9. Does the pharmacy charge               5         Q. How much time does it take?
     6   reasonable prices for controlled substances?"       6             MR. CLARK: Objection to
     7             Do you ask that?                          7         form.
     8         A. No.                                        8         A. That can vary.
     9         Q. "10. Does the pharmacy accept              9         Q. What would it vary between?
    10   insurance payment for purchases of controlled      10             MR. CLARK: Objection to
    11   substances made via the Internet?"                 11         form.
    12             Do you ask that question?                12         A. There's just a lot of reasons.
    13         A. Yes.                                      13   Sometimes it could take a day or two.
    14             Well, wait. Does the pharmacy            14         Q. Okay. Take longer?
    15   accept insurance payment on purchases of           15         A. Not usually.
    16   controlled substances made via the Internet? I     16         Q. In that day or two that you take,
    17   don't deal with pharmacies that -- explain --      17   are these all the inquiries that you should be
    18   okay. So does the pharmacy show ... I don't ask    18   making?
    19   that question.                                     19             MR. CLARK: Objection to
    20         Q. Let me just step back. Let's just         20         form.
    21   step back and take a breath.                       21         A. It wouldn't be inquiries.
    22             If you've set a threshold with a         22         Q. What satisfies you before you
    23   company and you put the time and the effort into   23   raise a threshold again?
    24   setting that threshold and they want to raise      24             Because here's why I'm asking.
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     1   it -- and I understand there's paperwork that's     1   You told me you put a lot of time and effort
     2   required -- you're going to do your due             2   into that initial threshold, and you do your
     3   diligence, right, before you raise the              3   research, you do your due diligence, you come up
     4   threshold; fair to say?                             4   with a number.
     5             MR. CLARK: Objection to                   5             So if somebody wants to elevate
     6          form.                                        6   that number after you take those steps, sitting
     7          A. Yes.                                      7   here I'm thinking that's kind of a big deal,
     8          Q. You're going to ask all the               8   because you've done the work on the front end,
     9   questions. You're going to make sure they fill      9   right?
    10   out that form. If there's areas you're going to    10             MR. CLARK: Objection to
    11   inquire, any of these questions, you're going to   11         form.
    12   do all of that; is that fair to say?               12         Q. Correct?
    13             MR. CLARK: Objection to                  13         A. I've done some work, yes. The
    14          form.                                       14   pharmacy can change, though. I mean, you know.
    15          A. All of these questions                   15         Q. Right.
    16   (indicating)?                                      16         A. I'm very conservative on what I
    17          Q. Well, you're going to do -- you're       17   set my thresholds at. Not everybody is set at
    18   going to do -- I mean, it may not be every one     18   the same limit.
    19   of these, but you're going to investigate and      19         Q. If someone wanted to look at you
    20   ensure, before you raise a threshold, that it's    20   and you raised a threshold -- let's say you
    21   a safe practice to do so, right?                   21   raised a threshold and they want to ask you and
    22             MR. CLARK: Objection to                  22   they want to say, "Hey, why did you do that?"
    23          form.                                       23   Do you have any supporting documentation?
    24          A. Yes.                                     24             You said -- you gave me a few

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     1   reasons why you may do that. Do you have any        1       Q.     Would that be alarming?
     2   supporting documentation that shows why you         2       A.     That would be very unusual.
     3   would have allowed that to happen?                  3       Q.     Yes, sir.
     4             MR. CLARK: Objection to                   4             THE VIDEOGRAPHER: We're
     5         form.                                         5        going off the record at 2:03.
     6         Q. Other than the paperwork I think           6             (Recess taken.)
     7   that you said you make them fill out, right?        7             THE VIDEOGRAPHER: We're back
     8             MR. CLARK: Same objection.                8        on the record at 2:11.
     9         A. Uh-huh.                                    9   BY MR. REINS:
    10         Q. That's a "yes"? You just need to          10        Q. You discussed with us today about
    11   verbalize the answer.                              11   the setting of the threshold limits and then the
    12         A. Okay. Ask the question again.             12   elevating or raising of those limits.
    13         Q. The only documentation I recall           13             Are there any policies and
    14   you saying that you get before you raise a         14   procedures within PSI which provides some
    15   threshold, if I heard you correctly, is you make   15   guidance or parameters for doing either of those
    16   them, you fax them, or you give them a document    16   tasks?
    17   for the increase and they need to fill it out,     17             MR. CLARK: Objection to
    18   the reason why they need an increase, correct?     18        form.
    19             MR. CLARK: Objection to                  19        Q. That you've seen.
    20         form.                                        20        A. No.
    21         A. That is a lot of it, yes.                 21        Q. So not to oversimplify it, it
    22         Q. And then if that satisfies you,           22   really comes down to your discretion, right?
    23   then you feel comfortable raising it, correct?     23             MR. CLARK: Objection to
    24             MR. CLARK: Objection to                  24        form.
                                                 Page 79                                                 Page 81
     1         form.                                         1         A. Yes.
     2         A. Yes.                                       2         Q. Based on the things you've already
     3         Q. And then if they want to raise it          3   talked to us about?
     4   again in the same month, you're going to require    4             MR. CLARK: Same objection.
     5   that document to be filled out again, right?        5         Q. The criteria you said?
     6             MR. CLARK: Objection to                   6         A. And my experience.
     7         form.                                         7         Q. Yeah.
     8         A. I've never had anybody ask me for          8             I'm going to now show you a chart,
     9   twice in the same month.                            9   and this is a summary which we have created from
    10         Q. Okay. That would be alarming,             10   PSI600, which is transactional data that PSI has
    11   wouldn't it?                                       11   produced to us. So we're going to look at that
    12             MR. CLARK: Objection to                  12   real quick.
    13         form.                                        13             MR. REINS: I have an extra
    14         A. I -- no.                                  14         copy for you, but I'm going to have
    15         Q. It would not be alarming?                 15         to use it from the last deposition,
    16         A. Not alarming.                             16         which I believe it was Number 6.
    17         Q. Concerning?                               17         So the witness can have one.
    18             MR. CLARK: Objection to                  18   BY MR. REINS:
    19         form.                                        19         Q. All right. So I tell you where it
    20         A. I would ask a lot more questions,         20   comes from so that you understand where it comes
    21   yes.                                               21   from, okay? So what we've done is we've
    22         Q. How about if they asked you to do         22   isolated some transactions in certain periods of
    23   it a third time?                                   23   time. And if you zoom in to the top left there
    24             MR. CLARK: Same objection.               24   column, there's a pharmacy.

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     1             Are you familiar with this                1         this -- blowing it up will make it
     2   pharmacy?                                           2         easier for you.
     3        A. Yes.                                        3              But don't answer anything if
     4        Q. And you can see the screen in               4         you can't read it, okay?
     5   front of you it may be helpful because this is      5              MR. CLARK: Just one other
     6   small.                                              6         clarification. Blowing it up makes
     7        A. Yes.                                        7         it easier to see different parts,
     8        Q. Do you know when you started doing          8         but when blown up, it's difficult
     9   work with them? Is it Kahler Pharmacy?              9         to see the document in its
    10        A. Kahler Pharmacy.                           10         entirety.
    11        Q. My question is, do you know when           11              MR. REINS: I can't argue
    12   you started a relationship with them?              12         with that.
    13        A. I believe it was in the 1980s.             13   BY MR. REINS:
    14        Q. Okay. So a long time --                    14         Q. All right. So we've got -- but
    15        A. Maybe earlier. Correct.                    15   you can reference, we've got -- obviously, this
    16        Q. So a pharmacy you're pretty                16   is for -- the month of March is what I want to
    17   familiar with?                                     17   focus on. We want to focus on Kahler Pharmacy.
    18        A. Yes, sir.                                  18              Do you know this Walter or Jim,
    19        Q. Okay. Because sometimes, in                19   the order takers?
    20   fairness to you, and -- you know, you may set a    20         A. Yes.
    21   threshold and it's just a new customer and you     21         Q. Okay. You've known them, I guess,
    22   may not know kind of the traffic or the            22   for a long time?
    23   business, right, that they may have?               23         A. I'm Jim.
    24             MR. CLARK: Objection to                  24         Q. Oh, you're the order taker. Who's
                                                 Page 83                                                 Page 85
     1          form.                                        1   Walter?
     2          Q. Is that a yes? She just needs a           2         A. He's my -- he helps me in the
     3   verbal answer.                                      3   cage.
     4          A. Yes.                                      4         Q. Got it. Okay. So that means you
     5          Q. All right. So when we look at             5   actually got the order when it says "Jim,"
     6   this one, we look at -- if you branch it out a      6   right?
     7   little bit. So we've got this particular            7         A. Correct. Yes.
     8   pharmacy. If you look at the dates --               8         Q. But we know that, based on your
     9              MR. REINS: If you could                  9   position, all of the orders you review, correct?
    10          highlight just the March dates              10         A. Yes.
    11          there.                                      11         Q. And you're the only one that can
    12   BY MR. REINS:                                      12   elevate the thresholds; is that right?
    13          Q. All right. So we've got -- this          13         A. Yes.
    14   is, it looks like, March 5th through March 30th.   14         Q. All right. So if we go over to
    15              MR. CLARK: It's up here on              15   the right a little more, this is dealing with
    16          the screen. It's a little bit               16   oxycodone, and specifically, what is Endocet?
    17          easier.                                     17         A. Endocet is the -- it's a generic
    18              MR. REINS: It may be easier.            18   for Percocet. It's the same as the
    19              MR. CLARK: I'm going to put             19   oxycodone 10/325. It's just a different brand.
    20          on the record that the hard-copy            20         Q. Got it.
    21          document is difficult.                      21             And then we've got varying
    22              MR. REINS: It's super small.            22   strengths over here. And then if we now go to
    23          I agree with you. But I have a              23   this side, we've got the size and number of
    24          magnifying glass. But hopefully             24   units and some information, and then if we keep

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     1   going, we've got the total units sold this month    1             MR. CLARK: Same objection.
     2   and the max units per month.                        2         A. There was a reason.
     3            The max units per month is the             3         Q. There was a reason. And the
     4   threshold, right?                                   4   reason should be -- there should be the due
     5        A. Uh-huh.                                     5   diligence of all the things you talked to me
     6        Q. Yes?                                        6   about, all the questions should have been asked,
     7            MR. CLARK: You've got to                   7   the form would have been filled out and refilled
     8        verbalize.                                     8   out regarding the questionnaire, correct?
     9        Q. Say it out loud.                            9             MR. CLARK: Objection to
    10        A. Yes.                                       10         form.
    11        Q. So it looks like at the beginning          11         A. Can I tell you what this was?
    12   of the month, which would be March, there was a    12         Q. Sure.
    13   7,000 threshold, right, of pills?                  13         A. Okay. I believe -- Brent Kahler
    14            MR. CLARK: Objection to                   14   passed away, okay, and this was owned by -- a
    15        form.                                         15   new pharmacist purchased it, okay? So here was
    16        A. Yes.                                       16   a new customer for whoever -- whatever
    17        Q. All right. And they ordered                17   wholesalers is going to be primary for. They
    18   6,100, no problem. But then in --                  18   would not allow him to buy this -- buy controls
    19            MR. REINS: And I don't know               19   without establishing a relationship, okay?
    20        if we can split-screen it and show            20             So at the time, he was not able to
    21        the dates so he can see the dates             21   buy them from his primary. He turned to me to
    22        along with it? Or maybe just that             22   get his controlled substances. It's a very big
    23        way, yeah.                                    23   pharmacy, had been around for years, and they do
    24                                                      24   a lot of scripts a day.
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     1   BY MR. REINS:                                       1         Q. You're going to need to just break
     2        Q. So that's on March 5th, and then            2   it down so we can verify that, okay?
     3   on March 7th, it looks like we got two orders,      3             First of all, you know this to be
     4   which got us to 12,000, correct?                    4   true?
     5            MR. CLARK: Objection to                    5             MR. CLARK: Objection to
     6        form.                                          6         form.
     7        A. That's what it shows, yes.                  7         A. I spoke to the pharmacist.
     8        Q. All right. And assuming this is             8         Q. Okay. So tell me -- I'm sorry.
     9   accurate, of course.                                9   That was a little fast and I didn't quite get it
    10            So in response to that order, the         10   all. So why don't we just baby-step what you
    11   threshold was raised from 7,000 to 12,000,         11   just said.
    12   correct?                                           12             You said, After I know what this
    13        A. Yes.                                       13   is. Say it, and I may interrupt you. What
    14        Q. And you would have obviously had           14   happened?
    15   to approve that?                                   15             MR. CLARK: Asked and
    16        A. Yes.                                       16         answered.
    17        Q. All right. And I think you've              17             Go ahead.
    18   told us pretty honestly here today there's not     18         A. Okay.
    19   going to be documentation to support that, but     19         Q. So this -- let's start with the
    20   obviously you felt it was okay.                    20   basics, which is this is -- this is -- this
    21            MR. CLARK: Objection to                   21   pharmacy, is it Kahler Pharmacy?
    22        form.                                         22         A. Correct.
    23        Q. Or you wouldn't have done it,              23         Q. Is that a standing building?
    24   right?                                             24         A. Yes.
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     1          Q. And where is it located? Oh,              1   2012?
     2   we've got the address.                              2       A.    Well, he passed away, so you know.
     3          A. Toledo, Ohio, on Airport Highway.         3       Q.    When did he pass away?
     4          Q. So this is a standalone pharmacy,         4       A.    I can't exactly remember.
     5   correct?                                            5       Q.    Before this or at this time?
     6          A. Correct.                                  6            MR. CLARK: Objection to
     7          Q. Which you've been dealing with            7        form.
     8   since the '80s?                                     8        A. I can't remember that. I don't
     9          A. If not longer, yes.                       9   know that answer.
    10          Q. If not longer.                           10        Q. Okay. So the gentleman -- the
    11          A. Yes.                                     11   pharmacist that owned it passed way, and you
    12          Q. Okay. And you're saying, "Here's         12   don't know if that was in 2000 or 2010 or 2011?
    13   what happened," and then I just got lost. So a     13        A. I can't recall what year.
    14   little slower, if you don't mind.                  14        Q. Okay. All right. So he passed
    15             MR. CLARK: Objection. Asked              15   away at some point in the last decade?
    16          and answered.                               16            MR. CLARK: Objection to
    17          Q. I'm just trying to understand what       17        form.
    18   happened. I didn't understand what you were        18        A. Yes.
    19   saying.                                            19        Q. Okay. And then there was a new
    20             MR. CLARK: We could have the             20   owner of the pharmacy?
    21          court reporter read it back.                21        A. Correct.
    22          Q. Well, I mean, did someone buy the        22        Q. What is the name of the new owner?
    23   pharmacy, you said?                                23        A. Nick. I'm not sure of the last
    24             MR. CLARK: Objection to                  24   name.
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     1         form. Go ahead.                               1         Q. All right. So Nick -- whatever
     2         A. Yes.                                       2   last name -- buys the pharmacy, right? Yes?
     3         Q. Okay. Someone bought the -- the            3         A. Correct.
     4   guy you've been dealing with's pharmacy since       4         Q. Okay. And you had established
     5   the '80s, someone bought it in 2013?                5   these thresholds for Brent, right?
     6         A. A pharmacist that was working              6            MR. CLARK: Objection to
     7   there, correct.                                     7         form.
     8         Q. Bought it?                                 8         Q. When he owned it.
     9         A. Yeah. I don't know when he bought          9         A. I would assume he was part of it.
    10   it. It was in 2013, because this is 2012.          10         Q. Well, I mean, you had -- there was
    11         Q. Okay. I'm sorry. 2012. So in              11   a threshold here at the beginning of the month
    12   2012, there was a pharmacist that you dealt with   12   of 7,000. You had established that, correct?
    13   since the '80s before that?                        13         A. Yes.
    14             MR. CLARK: Objection to                  14         Q. And you're saying, "Brent died so
    15         form.                                        15   we had a whole new business on our hands."
    16         A. There was a pharmacist that owned         16            Is that what you're saying?
    17   that pharmacy, yes.                                17            MR. CLARK: Objection to
    18         Q. Okay. And what was his name or            18         form.
    19   her name?                                          19         A. No.
    20         A. Brent Kahler.                             20         Q. Okay.
    21         Q. Brent. Can you spell the last             21         A. No. No. Brent died, okay? And
    22   name? Kahler is going to be --                     22   the pharmacist that has worked there for a while
    23         A. Same as the pharmacy.                     23   bought the pharmacy, okay?
    24         Q. Okay. Brent Kahler owned it until         24         Q. Okay.

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     1         A. He -- he switched his primary              1   during this time.
     2   wholesaler to somebody else. They had no            2         Q. Okay. So you went and spoke to
     3   history with him, sales history.                    3   Nick. Is that -- did you know Nick before that,
     4         Q. I'm going to stop you because I            4   or is that the first time you met him?
     5   don't want -- if you don't mind, I'm just going     5         A. I've met him before, yes.
     6   to stop so I can digest it.                         6         Q. Okay. Do you remember his last
     7         A. Okay.                                      7   name?
     8         Q. So Nick, the new owner, along with         8         A. I think it's Tabb, T-a-b-b.
     9   some other pharmacists, bought the place?           9         Q. All right. So the reason you go
    10         A. Nick bought the place.                    10   meet him is why?
    11         Q. Nick bought the place?                    11             MR. CLARK: Objection. Form.
    12         A. I --                                      12         A. I went to see him to ask him about
    13            MR. CLARK: Let him ask the                13   the increases in his purchases, okay, and him
    14         question.                                    14   wanting more. That's why I went personally to
    15         Q. All right. And they -- and they           15   the pharmacy, to talk to him and get an
    16   had -- and you said the primary wholesaler --      16   explanation --
    17   which they wanted to deal with?                    17         Q. Okay.
    18         A. They switched primary wholesalers.        18         A. -- for this reasoning.
    19         Q. Okay. And what happened?                  19         Q. Okay. So the prior owner, Brent,
    20            MR. CLARK: Objection to                   20   was he dealing with a wholesaler?
    21         form.                                        21         A. Yes. I was a secondary for them.
    22         A. So the new pharmacist -- you know,        22         Q. Okay.
    23   the new primary wholesaler had no sales history    23         A. Okay.
    24   with that pharmacy or very little sales history.   24         Q. Do you know -- did you do your due
                                                 Page 95                                                Page 97
     1         Q. Okay.                                      1   diligence and find out how much Brent was
     2         A. So they will not sell until they           2   getting from the wholesaler versus what he was
     3   get an establishment with that pharmacy over a      3   getting from you?
     4   certain amount of controlled substances.            4            MR. CLARK: Objection to
     5         Q. Okay. So you filled it?                    5        form.
     6             MR. CLARK: Objection to                   6        A. I asked Nick what his purchases
     7         form.                                         7   were before, okay?
     8         A. I was the one that filled,                 8        Q. Did you see any documentation to
     9   correct, at that time.                              9   support that?
    10         Q. Do you know Nick?                         10        A. It was patient information. I
    11         A. Yes, I've met Nick. I've been to          11   couldn't see it.
    12   this pharmacy numerous times.                      12        Q. You could see the ordering sheets,
    13         Q. Okay. But before you -- before            13   though, right, with the names redacted?
    14   this month of March, had you met Nick; do you      14            MR. CLARK: Objection to
    15   know?                                              15        form.
    16             MR. CLARK: Objection to                  16        A. What do you mean, "ordering sheets
    17         form.                                        17   with names" --
    18         A. Yes. I actually went to the               18        Q. Well, I mean, you're saying
    19   pharmacy and talked to Nick.                       19   there's no way for you to verify that
    20         Q. Okay.                                     20   information, what their prior orders were,
    21         A. Okay, about this.                         21   without seeing patients' names?
    22         Q. And when did that happen; do you          22            MR. CLARK: Objection to
    23   know?                                              23        form.
    24         A. It would have been in March,              24        Q. You couldn't look at documents

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     1   like this?                                          1   31,000 threshold; is that right?
     2             MR. CLARK: Objection to                   2            MR. CLARK: Objection to
     3         form.                                         3        form.
     4         A. I couldn't fulfill them because I          4        A. That was the conversation, yeah.
     5   didn't have, you know, that history from them       5   It was helpful.
     6   either, okay? I went on where they're located,      6        Q. That's not my question. My
     7   okay, how many scripts they do a day, you know,     7   question is, you went from a 7,000 threshold to
     8   how big they are.                                   8   a 33,000 threshold.
     9             I've been dealing with them for           9            MR. CLARK: Objection to
    10   years. There's no new pharmacies in the area.      10        form.
    11   They were in a neighborhood.                       11        Q. Right?
    12         Q. The variable for you that you were        12        A. That's what I --
    13   sufficient with is this guy says to you, "The      13            MR. CLARK: I think he's
    14   wholesaler won't deal with us because we're so     14        highlighting here. Just use that
    15   new, we don't have a relationship. Will you        15        in the document.
    16   provide all of our narcotics?"                     16        A. Yeah, yeah, that's correct.
    17             Is that right?                           17        Q. Almost five times the amount of
    18             MR. CLARK: Objection to                  18   your initial threshold, right?
    19         form.                                        19        A. Correct.
    20         A. He wanted me to -- he wanted me,          20        Q. And that threshold was raised from
    21   yes, to provide, you know, certain narcotics for   21   7 to 12 to 18 to 22 to 25 to 26 to 29 to 33?
    22   him, that's correct.                               22        A. Uh-huh.
    23         Q. Other than what he told you, did          23            MR. CLARK: You've got to
    24   you see any documentation or --                    24        answer.
                                                 Page 99                                               Page 101
     1         A. I can't --                                 1        Q.   Is that a yes?
     2             MR. CLARK: Wait for his                   2        A.   Yes.
     3         question.                                     3        Q.   Is that unusual?
     4         Q. -- is there anything else you did          4            MR. CLARK: Objection to
     5   other than meet with him?                           5         form.
     6             MR. CLARK: Objection to                   6         A. Not when I did my due diligence.
     7         form.                                         7         Q. Tell me about your due diligence.
     8             Go ahead.                                 8   Other than meeting with Nick and having a
     9         A. I can't recall.                            9   conversation with him, tell me what else you
    10         Q. Any other proof of any sort that          10   did.
    11   you can recall seeing other than meeting him at    11         A. Well, I have a longstanding
    12   the store and him saying he needs you to supply    12   relationship with that pharmacy. It's a very
    13   him?                                               13   big pharmacy. They do a lot of scripts.
    14             MR. CLARK: Objection to                  14         Q. No doubt.
    15         form.                                        15         A. They've been around for years,
    16         A. I can't remember.                         16   have a good reputation.
    17         Q. Did you call the wholesale                17         Q. But you didn't know Nick.
    18   retailer and verify that they wouldn't deal with   18            MR. CLARK: Objection to
    19   him?                                               19         form. Misstates his testimony.
    20             MR. CLARK: Objection to                  20         Q. Did you know Nick before that?
    21         form.                                        21         A. I've met Nick before that, yes.
    22         A. No, but I've heard that before.           22         Q. You didn't know him, though, did
    23         Q. So based on that conversation with        23   you?
    24   Nick, you went from a 7,000 threshold to a         24            MR. CLARK: Objection to
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     1          form.                                        1            Well, before we do that, you
     2          A. I've spoken to him on the phone           2   understand we talked in the very beginning of
     3   too.                                                3   this deposition about you don't want to ship a
     4         Q. Anything else, sir, you can point          4   suspicious order.
     5   to, to your quote/unquote "due diligence," other    5            Are you aware -- is there any
     6   than speaking with Nick?                            6   policy or procedure regarding when an order
     7               MR. CLARK: Objection to                 7   should not be shipped? Is there a policy on
     8         form.                                         8   that?
     9         A. Not that I can recall.                     9         A. Yes.
    10         Q. That's a hell of an increase,             10         Q. There is? What is it called?
    11   isn't it?                                          11            MR. CLARK: Objection to
    12               MR. CLARK: Objection to                12         form.
    13         form. Objection; argumentative.              13         A. It's -- I don't know what it's
    14         Q. That is one heck of an increase,          14   called, you know.
    15   isn't it, sir?                                     15         Q. Let me --
    16               MR. CLARK: Same objection.             16            MR. CLARK: Were you done
    17         A. That's an increase, yes.                  17         answering?
    18         Q. All right. And, again, in the             18            MR. REINS: I think he was
    19   family of PSI, you can do this on your own         19         done.
    20   without any procedures and any oversight of        20            THE WITNESS: Yes.
    21   anybody else being involved, right?                21   BY MR. REINS
    22               MR. CLARK: Objection to                22         Q. Let's look at this one, and this
    23         form.                                        23   may be what you're talking about. Again, I'm
    24         A. I do discuss these with my father,        24   not here to trick you or anything.
                                                Page 103                                                Page 105
     1   Tom.                                                1             The inventory control one, let's
     2        Q.    Do you remember discussing it with       2   go to -- this is going to be PSI86 on that
     3   him?                                                3   document, on the bottom there. It says, "IT
     4             MR. CLARK: Objection to                   4   manager shall be responsible for running
     5        form.                                          5   suspicious order monitoring reports."
     6        A. I cannot recall that, no.                   6             We've covered that, right?
     7        Q. You and I can agree on one thing:           7             "Automatically sending all reports
     8   That's a heck of a lot of Oxy for that              8   to DEA and governing state agencies as required.
     9   community, right?                                   9   He or she shall share the information with the
    10             MR. CLARK: Objection to                  10   DR/DR supervisor each month."
    11        form.                                         11             That was Candace and your dad,
    12        Q. I'll rephrase.                             12   right?
    13             So if I wanted any documentation         13        A. Correct.
    14   to support this decision-making by you, there      14        Q. "IT manager shall stay current of
    15   wouldn't be any, right?                            15   changing regulations and requirements for
    16             MR. CLARK: Objection to                  16   reporting and system adjustments to meet these
    17        form.                                         17   requirements. Our suspicious ordering system
    18        A. I -- I just can't recall.                  18   prevents Prescription Supply, Inc. from shipping
    19        Q. Okay.                                      19   a suspicious order or an excessive order if a
    20        A. I know I went to the store to talk         20   customer exceeds a present limit in eight
    21   to him, spoke to him on the phone a few times.     21   specific families of drugs."
    22        Q. All right. Moving along. Let's             22             So is that telling us that back in
    23   go back to the policy dealing with inventory       23   2000, when this policy was created, that if
    24   controls.                                          24   somebody ordered or sought to order an exceed of

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     1   their threshold, that the order would be stopped    1        Q. Which did the automatic stop when
     2   from shipping?                                      2   someone tried to order more than their
     3             MR. CLARK: Objection to                   3   threshold, right?
     4         form.                                         4        A. Correct.
     5         Q. Let me rephrase it.                        5        Q. However, that's where you come
     6             What does that mean, "Our                 6   back in. If they try to order more than the
     7   suspicious ordering system prevents Prescription    7   threshold, you have the ability -- you alone is
     8   Supply, Inc. from shipping a suspicious order or    8   my understanding -- to raise that threshold like
     9   an excessive order if a customer exceeds a          9   you did for that pharmacy, right?
    10   present limit in eight specific families of        10            MR. CLARK: Objection to
    11   drugs."                                            11        form.
    12             What do you understand that to           12        A. For Kahler, yes.
    13   mean?                                              13        Q. Yeah.
    14         A. Okay. So that would not have been         14        A. That is my responsibility.
    15   2000.                                              15        Q. So here's what I want to know, if
    16         Q. Yeah.                                     16   you know. My understanding is there's a log, a
    17         A. There would have been a revision          17   log created when someone tries to order more
    18   on this.                                           18   than their threshold.
    19         Q. Nope. If you look on the front            19            Do you understand that?
    20   page there -- I can't make this stuff up -- June   20            MR. CLARK: Objection to
    21   of 2000 is the effective date.                     21        form.
    22         A. But there were revision dates too.        22        A. There is a log, yes.
    23         Q. Oh, do you believe this was not           23        Q. And then do you get -- after 2008,
    24   the policy back when it was started?               24   would you get something pop up on your screen or
                                                Page 107                                                Page 109
     1          A. That, I don't know. But there             1   an e-mail letting you know someone tried to do
     2   were revisions to this.                             2   that?
     3          Q. I'm not arguing with you, and             3             MR. CLARK: Objection to
     4   that's a fair point.                                4         form.
     5              Is it your testimony you                 5         A. What do you mean?
     6   believe -- you just said it wasn't this way in      6         Q. I'm just wondering if you're
     7   2000. You believe that policy was enacted in        7   notified somehow, like a notification pops up,
     8   2008?                                               8   "Hey, Kahler wants another 10,000 pills"? Like
     9          A. Okay.                                     9   do you get a pop-up or something?
    10              MR. CLARK: Objection to                 10         A. Yeah.
    11          form.                                       11             MR. CLARK: Objection to
    12          A. Well, the eight families would           12         form.
    13   have been in 2008.                                 13         A. Yeah. It's on an ordering screen.
    14          Q. Got it. That's helpful.                  14         Q. Okay.
    15              So that addition or that revision       15         A. Like every C-II is stopped, okay?
    16   would have been added to this policy, to the       16   So on our ordering screen, if somebody is trying
    17   best of your knowledge and belief, in 2008,        17   to order more than what I have established with
    18   then?                                              18   this threshold, okay, it will -- let's say they
    19          A. From what I see.                         19   tried to order five bottles, okay? The
    20          Q. All right. Then that makes it a          20   threshold is 4,900, okay, and they tried to
    21   little bit easier, the transitional question,      21   order five bottles of 100 count. They're only
    22   because that's when you established your           22   allowed to order one, okay, because that would
    23   threshold system, correct?                         23   meet the threshold. Underneath that would be an
    24          A. Correct.                                 24   "M," which would identify that as a threshold

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     1   was met. So, yes, I do see that.                    1             MR. CLARK: Let him finish
     2         Q. And then is your process then the          2         his question. Let me get my
     3   same in order to decide whether you're going to     3         objection. Objection to form.
     4   let that go through or not?                         4             Go ahead.
     5             MR. CLARK: Objection to                   5         Q. So you give him a call. You get
     6         form.                                         6   them to complete the form, why they want an
     7         Q. We talked about raising thresholds         7   increase. You look at their sales history.
     8   and what your criteria is. I'm not here to make     8             Anything else that qualifies as
     9   you say it for a third time.                        9   your due diligence, so to speak?
    10             Would your process when that hits        10             MR. CLARK: Objection to
    11   your screen be the same as what you've described   11         form.
    12   to me before, on whether you don't ship it, on     12         A. Yes. I also would go back and
    13   whether you report it, or on whether you fulfill   13   look at their questionnaire.
    14   or allow it to go through?                         14         Q. The initial questionnaire?
    15             MR. CLARK: Objection to                  15         A. Correct.
    16         form.                                        16         Q. Right, because you initially set a
    17         A. What I do is I'll look in the             17   threshold, right, so you want to see what they
    18   sales history. I'll do my due diligence on the     18   put initially, right?
    19   customer. Okay. I'll look at sales history,        19         A. I want to see what they put on
    20   see if he purchases that particular product,       20   that form that says how many they dispense per
    21   okay.                                              21   month.
    22             There's different forms of               22         Q. Anything else you do other than
    23   oxycodone with different -- you know, there's      23   that?
    24   some with acetaminophen, some with ibuprofen, a    24             MR. CLARK: Objection to
                                                Page 111                                                Page 113
     1   bunch of different forms, okay? So I look at        1         form.
     2   sales history, find out what he's been buying,      2         A. I -- there's just all kinds of
     3   okay? And, you know, that's -- I call him and       3   stuff that -- I don't know. There is.
     4   do my due diligence.                                4         Q. They're what?
     5         Q. Due diligence is kind of that word         5         A. There is stuff I do, yes.
     6   that's kind of a loaded word. So other than         6         Q. Tell me. This is my one chance.
     7   calling and looking at sales history, is there      7         A. Okay. So like I said, I look at
     8   anything else you do?                               8   the questionnaire. If it says they dispense
     9             MR. CLARK: Objection to                   9   12,000 a month, okay, that doesn't mean I set
    10         form.                                        10   the threshold at 12,000. I could set the
    11         A. Well, I do the paperwork, okay.           11   threshold at 4,000. Just because they dispense
    12         Q. What does that mean?                      12   that much a month doesn't mean they're going to
    13         A. The increased, you know, sales,           13   purchase all that from me, okay? I also look to
    14   you know, request.                                 14   see the percentage of non-controls to controlled
    15         Q. You send them the form which they         15   substances they're buying.
    16   complete, identifying why they want an increase?   16         Q. That's on the questionnaire?
    17         A. That's -- yes, part of it, yes.           17         A. Yes. And I look it up in sales
    18         Q. Part of it?                               18   history too. There's a graph that I can look
    19         A. Yeah.                                     19   at, okay, that tells me -- like a piechart that
    20         Q. The other part of it is you talk          20   tell me what the percentages of non-controls and
    21   to them or -- do you talk to everybody in that     21   controls is.
    22   situation or do you talk to --                     22             Plus I can go back and look at
    23         A. Yes, I do.                                23   every order individually for that customer, go
    24         Q. Okay.                                     24   back two, three months, and I can look at every

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     1   single order they've ordered, comparing             1        A. Zero.
     2   non-controlled to controls --                       2        Q. Zero. All right.
     3         Q. Got it.                                    3             Now, when we were talking about
     4         A. -- what their pattern is, what             4   policies, we looked at that part -- and I
     5   type of medications they buy, okay. There's a       5   appreciate that. That was on PSI86. You said,
     6   really lot involved.                                6   "Look, this is something that we revised."
     7         Q. It sounds like it.                         7             Is this what you meant by the
     8             And then are there times where you        8   policy on dealing with shipments when I asked
     9   have not increased the threshold?                   9   you about that earlier, that revision in there?
    10         A. Yes.                                      10             MR. CLARK: Objection to
    11         Q. If I wanted to verify that, no            11        form.
    12   offense, how would I verify that?                  12        A. For the families?
    13             MR. CLARK: Objection to                  13        Q. Yes, sir. You said there is a
    14         form.                                        14   policy on stopping shipments and we went through
    15         Q. I think I know. The log                   15   that paragraph, if you remember, this one right
    16   information which shows that they attempted and    16   here (indicating).
    17   then the sales history to see that you shut it     17             Is that what you recall the policy
    18   down, right?                                       18   being?
    19             MR. CLARK: Objection to                  19        A. That would be part of it.
    20         form.                                        20        Q. Moving back for one moment. Since
    21         A. As far as I know, that's the way          21   2013, I know you said you can't remember the
    22   to tell, yes.                                      22   number, but when somebody gives you their
    23         Q. In fairness, though, that's the           23   explanations and you decided -- you said, "You
    24   only way I think I could be able to tell, right?   24   know what? I'm not going to increase your
                                                Page 115                                                Page 117
     1             MR. CLARK: Same objection.                1   threshold."
     2        A. Yes.                                        2             Have you done that at all?
     3        Q. Yeah?                                       3         A. I'm sure I have, yes.
     4        A. Yeah.                                       4         Q. Do you recall ever doing that? I
     5        Q. All right. Sitting here today,              5   don't want you to guess, but can you testify
     6   can you testify under oath that you recall how      6   here today under oath that you have a
     7   many times you refused to raise a threshold         7   recollection of doing that?
     8   since 2008?                                         8             MR. CLARK: Objection to
     9             MR. CLARK: Objection to                   9         form.
    10        form.                                         10         A. I -- I don't -- I really don't
    11        Q. If you know.                               11   know.
    12        A. I have no idea.                            12         Q. Okay. That's okay.
    13        Q. Got it.                                    13             Hypothetically, if you did refuse
    14             Can you tell me -- now, let's say        14   to raise the threshold because you weren't
    15   you do that analysis, okay, and then you go --     15   satisfied, can you and I agree that would be, by
    16   well, let's just say this: You do that             16   definition, a suspicious order?
    17   analysis. When if ever -- because after 2013       17             MR. CLARK: Objection to
    18   you all stopped sending those forms monthly.       18         form. Objection; calls for
    19             So when, if ever, after 2013, when       19         speculation.
    20   those forms stopped, would you report a            20         A. Okay. So there are reasons that I
    21   quote/unquote "suspicious order"? Since then,      21   would not, okay, increase somebody, okay?
    22   how many times?                                    22         Q. Okay.
    23             MR. CLARK: Objection to                  23         A. And my thresholds are set very
    24        form.                                         24   conservatively, all right? I might not have a

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     1   good enough establishment with that customer,       1   substances.
     2   okay, where I'm just not comfortable. Until I'm     2             "The regulation also requires that
     3   comfortable with that customer, I will not          3   the registrant inform the local DEA division
     4   change a threshold, all right?                      4   office of suspicious orders when discovered by
     5             And that would deal with sales            5   the registrant."
     6   history, the percentage of non-controls to          6             Is that what you understand the
     7   controls they buy, what particular controls         7   rules to include?
     8   they're buying, what particular item they're        8             MR. CLARK: Objection to
     9   buying, and what particular item they want,         9         form.
    10   okay?                                              10         Q. That when you get a suspicious
    11             A suspicious order would not have        11   order, you should let them know when you receive
    12   to hit a threshold to be suspicious to me, you     12   it, correct?
    13   know.                                              13             MR. CLARK: Objection to
    14         Q. You said you have to be                   14         form.
    15   comfortable?                                       15         A. I've heard different things with
    16         A. Yes.                                      16   that from DEA.
    17         Q. You were comfortable with Nick            17         Q. You have?
    18   when you went from 7,000 to 31,000 in less than    18         A. Yes.
    19   three weeks?                                       19         Q. What else have you heard?
    20         A. Yes.                                      20         A. I went to a wholesaler -- DEA
    21             MR. CLARK: Objection to                  21   wholesaler meeting -- I believe it was in
    22         form.                                        22   Indianapolis -- where the DEA has
    23         Q. All right.                                23   representatives there and they talk to the
    24         A. At least comfortable with that            24   wholesalers and keep us updated on the laws and
                                                Page 119                                                Page 121
     1   pharmacy, yes.                                      1   regulations.
     2         Q. Sure. All right. We're going to            2             One of the attorneys that works
     3   talk about another DEA letter.                      3   for DEA had said that do our due diligence first
     4             All right. And this is after the          4   and then, you know, make that judgment. So she
     5   other one. This is going to be PSI                  5   was an attorney that worked for DEA.
     6   30(b)-301-001. This is dated December 27th,         6         Q. "Make that judgment," meaning
     7   2007. Again, this letter was sent to all the        7   what?
     8   distributors.                                       8         A. On if it's a suspicious order or
     9             It says, "This letter is being            9   not.
    10   sent to every entity in the United States          10         Q. Okay. And if you think it's a
    11   registered with the Drug Enforcement               11   suspicious order, you should report it
    12   Administration, DEA, to manufacture or             12   immediately, correct?
    13   distribute controlled substances.                  13         A. Yes.
    14             "The purpose of this letter is to        14             MR. CLARK: Objection to
    15   reiterate the responsibilities of the controlled   15         form.
    16   substance manufacturers and distributors to        16         Q. Okay. All right.
    17   inform DEA of suspicious orders in accordance      17             "Filing a monthly report of
    18   with 21 C.F.R. 1301.74(b).                         18   completed transactions ergo excessive purchase
    19             "In addition to and not in lieu of       19   report or high unit purchases does not meet the
    20   the general requirement of 21 USC 23 that          20   regulatory requirement to report suspicious
    21   managers and distributors maintain effective       21   orders."
    22   controls against diversion, DEA regulations        22             Sitting here today, you're aware
    23   require all manufacturers and distributors to      23   that the reporting you guys did from 2000 -- I'm
    24   report suspicious orders of controlled             24   sorry -- from 1997 to 2013, that that monthly

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     1   report that Kirk did, that was after those had      1         Q. Just that you acknowledge that
     2   all been shipped; you're aware of that, right?      2   they're there?
     3             MR. CLARK: Objection to                   3             MR. CLARK: Same objection.
     4         form.                                         4         A. They always give me this form and
     5         A. Yes, on the report, correct.               5   I always sign it, okay, when they come in, all
     6         Q. "Registrants are reminded that             6   right.
     7   their responsibility does not end merely with       7         Q. Okay.
     8   the filing of a suspicious order report.            8         A. You know, I have no reason not to
     9   Registrants must conduct an independent analysis    9   sign it. They're there for an inspection. I'm
    10   of suspicious orders prior to completing a sale    10   fine with that.
    11   to determine whether the controlled substances     11         Q. Okay.
    12   are likely to be diverted from legitimate          12         A. I'm not sure why they give you
    13   channels."                                         13   this paper. I'm not with DEA.
    14             Sitting here today, do you know if       14         Q. Fair enough. Can I see it back if
    15   you ever stopped a shipment because you thought    15   you don't mind. We'll just mark that.
    16   it was suspicious?                                 16                 ---
    17             MR. CLARK: Objection to                  17       (PSI - J. Schoen Exhibit 1 marked.)
    18         form.                                        18                 ---
    19         A. So -- I've never shipped a                19         Q. Do you remember a Thomas Ohliger,
    20   suspicious order.                                  20   I guess, a pharmacist?
    21         Q. I asked you a little bit                  21         A. Ohliger Pharmacy, yes.
    22   differently, which is, have you ever stopped a     22         Q. Yeah. Do you remember the
    23   shipment that you thought was suspicious?          23   situation with him?
    24             MR. CLARK: Objection to                  24             MR. CLARK: Objection to
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     1          form.                                        1         form.
     2          A. Have I ever stopped a shipment            2         A. Yes.
     3   that I thought was suspicious?                      3         Q. Tell me what you recall.
     4          Q. Yeah.                                     4         A. He was a customer of ours, okay.
     5          A. No.                                       5   I believe the State -- State Board of Pharmacy
     6          Q. Okay. All right. I'll take that           6   came into his pharmacy and there was an
     7   back from you.                                      7   argument. I guess he hit the guy. That's what
     8              I've got a document here, and I'm        8   I've heard.
     9   sorry, I don't have extra copies. I just don't      9         Q. Okay. Do you remember the issue
    10   know what it is. We'll make it Plaintiffs'         10   was a laptop, stealing a laptop?
    11   Exhibit Number 1, I guess. I haven't been          11            MR. CLARK: Objection to
    12   marking a bunch because we've used the same        12         form.
    13   documents.                                         13         A. I don't really know.
    14              So I'll show it to your attorney        14         Q. Was that someone that you were
    15   first, if you don't mind, and then I'm just        15   familiar with? I know you had personal
    16   going to have you identify what that is.           16   relationships. Was he someone you had a
    17          A. It's a DEA inspection.                   17   personal relationship with?
    18          Q. Okay. And you're signing off that        18         A. I've probably spoken to him on the
    19   you're aware that there's an inspection, I         19   phone.
    20   guess, in the building? Strike that.               20         Q. Okay. Now, you were investigated
    21              What is the purpose of this form,       21   by the Ohio Pharmacy Board. Do you remember
    22   if you know?                                       22   that in 2017?
    23              MR. CLARK: Objection to                 23            MR. CLARK: Objection to
    24          form.                                       24         form.

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     1         A. It was an inspection.                      1             It says, "Observation 1: An
     2         Q. Inspection?                                2   inspection was performed by agents with the Ohio
     3         A. Yes.                                       3   State Board of Pharmacy on May 22nd, 2017.
     4         Q. And --                                     4   During that inspection, agents asked a
     5         A. Yes, I do remember that.                   5   Prescription Supply representative for their
     6         Q. And there was an inspection and            6   policies and procedures on reporting suspicious
     7   then you guys had to fill out a written             7   orders to the Ohio State Board of Pharmacy.
     8   response.                                           8             "Prescription Supply provided the
     9            Do you recall that?                        9   agents the following suspicious order monitoring
    10         A. Yes.                                      10   statement and retail pharmacy questionnaire
    11         Q. Okay. You can't give these back.          11   2016. However, Prescription Supply has not
    12            (Discussion held off the record.)         12   reported a suspicious drug order to the Ohio
    13         Q. All right. So we're looking at            13   State Board of Pharmacy during at least the
    14   this document. Were you involved in the            14   years of 2014, '15, '16, and '17."
    15   completion of this?                                15             Corresponds with your memory,
    16         A. Yes.                                      16   right?
    17         Q. Okay. Tell me what you -- before          17         A. Yes.
    18   we talk about the nuts and bolts of it, tell me    18         Q. "Therefore, it appears that
    19   what you recall about this.                        19   Prescription Supply does not have a suspicious
    20            MR. CLARK: Objection; form.               20   order reporting process compliant with
    21         A. Okay. So the State Board of               21   Rule 4729-9-16(H)(1)(e)(i), which states in
    22   Pharmacy came to do an inspection, okay?           22   part: Wholesale drug distributors shall
    23         Q. Yes.                                      23   establish and maintain inventories and records
    24         A. They completed their inspection.          24   of all transactions regarding the receipt and
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     1   They left. I believe a couple months later they     1   distribution or other disposition of dangerous
     2   wanted to ask some additional questions. I          2   drugs. These records shall include but shall
     3   believe they e-mailed this to us to ask us some     3   not be limited to the following information: A
     4   additional questions on some customers we had.      4   system shall be designed and operated to
     5         Q. Okay.                                      5   disclose orders for controlled substances and
     6         A. So we completed this and sent it           6   other dangerous drugs subject to abuse.
     7   back to them.                                       7   Wholesalers shall inform the State Board of
     8         Q. All right. Do you remember the --          8   Pharmacy of suspicious orders for drugs when
     9   do you remember the gist of the allegations?        9   discovered. Suspicious orders are those which
    10             MR. CLARK: Objection to                  10   in relation to the wholesaler's records as a
    11         form.                                        11   whole are of unusual size, unusual frequency, or
    12         Q. Let's go through it. If you don't         12   deviate substantially from established buying
    13   mind, we'll look at the -- I believe it's -- so    13   patterns."
    14   this is PSI Number 9, which is the third page of   14             Let me ask you. If you report one
    15   the document?                                      15   of your customers for attempting a suspicious
    16         A. Okay. I don't believe they were           16   order, do you think they'll like that?
    17   allegations. What I believe is they just wanted    17             MR. CLARK: Objection to
    18   to make sure I was doing my due diligence with     18         form.
    19   my customers.                                      19         A. If they're attempting a suspicious
    20         Q. Gotcha.                                   20   order?
    21             So it says, "The facility has a          21         Q. Yeah. Do you think they'll
    22   system in place to identify and report             22   appreciate if you report them, one of your
    23   suspicious orders for drugs to the Ohio State      23   customers?
    24   Board of Pharmacy. Written response required."     24             MR. CLARK: Objection to

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     1         form.                                        1        Q. Do you remember, did you talk --
     2         A. It doesn't really matter to me if         2   did you report that one?
     3   they're happy with it or not.                      3        A. I would assume, yes. It was on
     4         Q. Got it. It could affect your              4   Tussionex.
     5   business, though, right?                           5        Q. Do you remember reporting it?
     6            MR. CLARK: Objection to                   6        A. Yes. Yeah, it was on Tussionex,
     7         form.                                        7   yeah.
     8         A. If it's a bad customer, somebody          8        Q. It was on Tussionex?
     9   is doing somebody wrong, I don't want them as a    9        A. Yes. I may have just called. I'm
    10   customer.                                         10   not sure, though. But it was an issue with
    11         Q. But you haven't lost any business        11   Tussionex.
    12   for reporting a suspicious order because you've   12        Q. Is that the only one you ever
    13   never reported any, right?                        13   remember reporting?
    14            MR. CLARK: Objection to                  14            MR. CLARK: Objection to
    15         form.                                       15        form.
    16         A. I haven't reported any suspicious        16        A. That I can recall.
    17   orders.                                           17        Q. Okay. And you've been doing this
    18         Q. So you haven't lost business over        18   for how many years?
    19   that reporting?                                   19        A. Right around 20.
    20            MR. CLARK: Were you done                 20        Q. Twenty.
    21         answering?                                  21            What is Tussionex?
    22            THE WITNESS: Yes.                        22        A. It's a -- I believe it's used for
    23         Q. So you've never lost a customer          23   colds. It has hydrocodone in it.
    24   because you reported them, obviously?             24        Q. Gotcha.
                                               Page 131                                                Page 133
     1           MR. CLARK: Objection to                    1         A. It was a Class III at the time.
     2        form.                                         2         Q. What was it about that one time
     3        A. I've never had anybody with a              3   that set you off?
     4   suspicious order, though.                          4             MR. CLARK: Objection to
     5        Q. Right. No, I'm with you. In your           5         form.
     6   whole career?                                      6         A. Somebody was ordering it that, as
     7           MR. CLARK: Objection to                    7   far as I can recall, was ordering more than I
     8        form.                                         8   usually see from anyone else.
     9        A. I wouldn't say in my whole career,         9         Q. Okay. Do you know who that
    10   no.                                               10   pharmacy was?
    11        Q. Have you ever?                            11         A. No idea. I can't recall.
    12        A. Yes.                                      12         Q. You don't remember how long ago,
    13        Q. When?                                     13   but it was some time ago?
    14        A. A long time ago.                          14         A. Correct.
    15        Q. How many years ago?                       15         Q. On the second page, at the top, it
    16           MR. CLARK: Objection to                   16   says, "A subsequent review of wholesale data
    17        form.                                        17   reported to the Ohio State Board of Pharmacy for
    18        A. I'm not sure.                             18   drugs containing oxycodone 10 milligrams and
    19        Q. Like in the '70s or '80s?                 19   oxycodone 30 milligrams indicated many sales
    20           MR. CLARK: Objection to                   20   appeared to be of unusual size, unusual
    21        form.                                        21   frequency, or that deviate substantially from
    22        A. No.                                       22   established buying patterns, but were not
    23        Q. 2000s?                                    23   reported to the Board of Pharmacy as suspicious
    24        A. Good possibility, yes.                    24   orders. Specifically, we observed spikes in

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     1   sales for specific months and sales that seemed     1        Q. Okay. All right. I'm going to go
     2   to steadily increase or spike and then abruptly     2   to 67, if you don't mind. This is Shaffer
     3   stop."                                              3   Pharmacy. They want some more Oxy, and the
     4             Do you know that Kahler is one of         4   reason is "Supplier mentioned an industry short
     5   the pharmacies they looked at?                      5   supply. New" -- is that MOK?
     6         A. Yes.                                       6        A. M.D.
     7             MR. CLARK: Objection to                   7        Q. Oh, I'm sorry. "M.D. moved in
     8         form.                                         8   building." So they're saying, "Hey, supplier
     9         Q. Was that with Nick still or no, or         9   mentioned that there's a short supply and we've
    10   a different owner?                                 10   got a new doctor."
    11         A. I believe that was Nick.                  11             Is that satisfactory to you?
    12         Q. Nick.                                     12             MR. CLARK: Objection to
    13             If you go to PSI65, which is more        13        form.
    14   than halfway through, on the bottom right-hand     14        Q. As an explanation to increase Oxy?
    15   side. Take your time.                              15             MR. CLARK: Same objection.
    16         A. Is it this page (indicating)?             16        A. This particular case, he didn't
    17             MR. CLARK: 65.                           17   meet his threshold.
    18         A. Okay.                                     18        Q. Okay.
    19         Q. This is a form called "Increased          19        A. Okay? I called him because I
    20   Purchase Request for Controlled Substances."       20   wasn't used to what he was ordering at the time.
    21   Earlier you testified that when someone wants to   21   This did not meet his threshold, okay?
    22   increase beyond the threshold, you would require   22        Q. Forget about threshold. It was --
    23   this form to be filled out.                        23             MR. CLARK: Were you still
    24             Is this the form you were speaking       24        answering?
                                                Page 135                                                Page 137
     1   of?                                                 1         A. Yes.
     2         A. Yes, sir.                                  2            So I had called him to find out
     3         Q. Okay. So let me ask you, like, if          3   why he was ordering this particular item,
     4   they don't actually fill out answers, is that       4   because it was unusual for him to do, okay? So
     5   concerning to you? Like this person didn't          5   I called Tom and talked to him personally and
     6   answer 1 through 3. Is that concerning?             6   asked him about it, okay? He told me that his
     7             1 is "Has the pharmacy                    7   supplier was short, his primary, and that he had
     8   prescription count increased?" 2, "Did the          8   two new doctors move in, okay? So this form was
     9   pharmacy change its business activities?" 3,        9   sent to him and returned to me.
    10   "Has there been an increase in prescribers? Yes    10         Q. That is by definition -- the
    11   or no." And they just left it blank.               11   unusual pattern which you just described, that
    12             Should that concern you before you       12   is, by definition, a suspicious order, right?
    13   approve a threshold increase?                      13            MR. CLARK: Objection to
    14             MR. CLARK: Objection to                  14         form.
    15         form.                                        15         A. I did my investigating and
    16         A. Not when the reason they gave me          16   determined it was not, though.
    17   for the increase was that their primary was out    17         Q. Well, it was suspicious and then
    18   of stock.                                          18   you made the phone call, right?
    19         Q. Okay.                                     19            MR. CLARK: Objection to
    20         A. So there were no changes, so --           20         form.
    21         Q. So how do you verify if Cardinal          21         A. No. It wasn't what he usually
    22   was actually out of stock? Is there a way to       22   ordered from me.
    23   verify, or no?                                     23         Q. It was unusual?
    24         A. It's really hard, really hard.            24         A. So I made the call.

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     1         Q. Right. It was unusual?                     1          Q. All right. And what does Nick
     2             MR. CLARK: Objection to                   2   say? Why do they need an increase here?
     3         form.                                         3          A. He said they have a prescription
     4         A. It was -- it was -- yeah, it was           4   count increase, and on -- it says they have 110
     5   unusual, yes.                                       5   new scripts per month, okay, for the last six
     6         Q. And so "Supplier mentioned" -- did         6   months.
     7   you fill this out or did he?                        7          Q. That's a reason? That's good
     8         A. The pharmacist fills this out,             8   enough?
     9   yeah.                                               9              MR. CLARK: Objection to
    10         Q. "Supplier mentioned an industry           10          form.
    11   short supply." What would the supplier be?         11          A. With my relationship with him and
    12         A. His primary wholesaler.                   12   knowledge of that store?
    13         Q. Do we know who that is or --              13          Q. Yeah. I'm asking.
    14             MR. CLARK: Objection to                  14          A. I believe, yeah, that's -- yeah.
    15         form.                                        15   And I did call him. Before I send these out, I
    16         A. No.                                       16   call them.
    17         Q. Okay. Did you verify two                  17          Q. Sure.
    18   physicians moved into the building?                18          A. I call and talk to them. Because
    19         A. At the time, no, I did not, no.           19   if I just send these out, they're not going to
    20         Q. Okay.                                     20   know what this is. So I call and talk to the
    21         A. No. He's in a doctors' building,          21   pharmacist.
    22   multiple doctors' buildings, and I've had a        22          Q. Do you know that part of the --
    23   relationship with him for -- probably since he's   23   part of the issue with the abuse of getting Oxy
    24   opened the pharmacy.                               24   is more scripts are being written?
                                                Page 139                                                Page 141
     1         Q. I'm just saying, you know,                 1             MR. CLARK: Objection to
     2   hypothetically, you could have two leave and two    2         form.
     3   come in, like two replace two. That would be        3         Q. For a period of time?
     4   something you'd want to know, right?                4             MR. CLARK: Same objection.
     5             MR. CLARK: Objection to                   5         Q. And the fact that there's more
     6         form.                                         6   scripts doesn't mean there's not a problem,
     7         Q. Two doctors leave, two come in,            7   right?
     8   shouldn't affect the numbers that much, right?      8             MR. CLARK: Objection.
     9             MR. CLARK: Same objection.                9         Q. That's actually part of the
    10         A. It depends on what the specialty          10   problem, isn't it?
    11   is.                                                11             MR. CLARK: Same objection.
    12         Q. Okay. Did you ask them what their         12         A. But the 110 could be scripts just
    13   specialties are?                                   13   in general, not scripts for a particular item.
    14             MR. CLARK: Same objection.               14   I think he's referring to 110 additional scripts
    15         A. I can't recall.                           15   per month on this, you know, overall. Not that
    16         Q. Okay. All right. And then we've           16   I believe --
    17   got 69. Tabb Enterprises, Inc. Is that Nick,       17         Q. You said it's overall?
    18   Nick Tabb, right?                                  18         A. Yeah, not on what I believe is a
    19         A. Yes.                                      19   certain item.
    20         Q. Okay. So they wanted more, and            20         Q. Do you remember talking to him
    21   this is going to be in 2015. This is years         21   about that?
    22   after the event we looked at earlier, right?       22             MR. CLARK: Objection to
    23   That was 2012, I guess?                            23         form.
    24         A. Correct.                                  24         A. I remember calling him, yes.

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     1        Q. Do you remember --                          1   allowed every order that has come into
     2        A. I would have called him. I don't            2   Prescription Supply to be filled in the way that
     3   know if I remember it, but I would have called      3   it came in; is that right?
     4   him to get this paperwork.                          4        A. No.
     5        Q. I'm not doubting that you called            5        Q. And you've stopped many orders?
     6   him, but do you remember the conversation?          6        A. Yes.
     7        A. I can't be sure, no.                        7        Q. Okay. And over your 20 years,
     8              MR. REINS: Mark that as                  8   there have been many orders that you did not
     9        Plaintiffs' Exhibit Number 2.                  9   allow to go out?
    10                   ---                                10        A. Correct. Yes.
    11      (PSI - J. Schoen Exhibit 2 marked.)             11        Q. I just wanted to clarify that one
    12                   ---                                12   point.
    13              MR. CLARK: Are we continuing            13        A. Yes, sir.
    14        from Kirk or are these new?                   14            MR. CLARK: Okay. I have
    15              MR. REINS: They're new, but             15        nothing further.
    16        I'll tell you what I've done here.            16                  ---
    17        I've gotten really revolutionary.             17            RECROSS-EXAMINATION
    18        I've identified a number of the               18   BY MR. REINS:
    19        documents that have been exhibits             19        Q. Here's what I understood you to
    20        in other depos by Bates numbers so            20   say earlier, if I understood you.
    21        we know what they are, but I                  21            You said to me, you said, "Hey,
    22        haven't attached them all again               22   man, there's a bunch of reasons why I may not
    23        because, frankly, I have one copy             23   ship something," and you gave me multiple
    24        left.                                         24   examples.
                                                Page 143                                                Page 145
     1            MR. CLARK: That's fine.                    1             I believe I then asked you at some
     2            MR. REINS: Okay.                           2   point later in the questioning if you had ever
     3            THE WITNESS: Are we done                   3   stopped a shipment or prevented a shipment from
     4        with this, then?                               4   going out because you thought it was suspicious,
     5            MR. REINS: Yes, sir, we are.               5   and your answer was "No, I have not."
     6        And honestly, we're going to take a            6             Now, I understand you've stopped
     7        quick break because I may be done.             7   orders and I respect that, and I understood
     8            THE VIDEOGRAPHER: We're                    8   those to be consistent, but are you now telling
     9        going off the record at 3:04.                  9   me that you have -- is it your testimony -- and
    10            (Recess taken.)                           10   I don't think it's different than what your
    11            THE VIDEOGRAPHER: We're back              11   counsel just asked you. I understand you've
    12        on the record at 3:14.                        12   stopped orders.
    13            MR. REINS: I have no more                 13             But are you testifying here today
    14        questions.                                    14   that you've stopped shipments of orders from
    15                ---                                   15   going out or getting completed because they were
    16            REDIRECT EXAMINATION                      16   quote/unquote "suspicious"?
    17   BY MR. CLARK:                                      17             MR. CLARK: Objection to
    18        Q. I just want to ask you one                 18         form.
    19   question, Mr. Schoen. I want to clarify            19         Q. Because I believe you testified
    20   something that Mr. Reins asked you about earlier   20   earlier you have not.
    21   on and just make sure that we get this right.      21             MR. CLARK: Same objection.
    22            Have you stopped orders before?           22         Q. Or you couldn't recall ever doing
    23        A. Yes. From going out? Yes.                  23   that is what I recall, actually.
    24        Q. Okay. So it is not as if you've            24             MR. CLARK: Same objection.

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     1         A. Possible. You know, I've stopped           1   suspicious orders, correct? That's your job?
     2   lots of orders.                                     2             MR. CLARK: Objection to
     3         Q. I don't doubt that. But my                 3         form.
     4   question to you was, did you -- can you recall      4         Q. Right?
     5   specifically here today stopping an order or not    5         A. That's part of my job.
     6   shipping an order because it was suspicious, and    6         Q. Darn right, and you need to know
     7   I believe your testimony was "I just don't          7   what "suspicious" means in order to do your job,
     8   recall."                                            8   right?
     9             MR. CLARK: Objection to                   9             MR. CLARK: Same objection.
    10         form.                                        10         Q. That's okay.
    11         Q. Is that accurate?                         11         A. I agree with that.
    12         A. Well, I would have stopped them if        12         Q. Yeah. All right. All I'm asking
    13   they were suspicious or not suspicious if I        13   you is this: And I'm not -- this isn't some
    14   didn't feel comfortable with that order going      14   kind of trick like I'm getting you to say you've
    15   out.                                               15   never held an order. I know you've held orders.
    16         Q. I'm not arguing with you. I'm             16   I get it. And I'm not disputing that.
    17   just asking you here today, here today, under      17             But what I believe you testified
    18   oath, based on what you can recall, based on       18   earlier is, when I said "Can you recall stopping
    19   what you can remember -- I'm not saying it         19   a shipment because you thought the order was
    20   didn't happen, but can you testify here today      20   suspicious, that one reason, do you remember
    21   you remember stopping a shipment because you       21   doing it?"
    22   thought the order was suspicious?                  22             Do you remember doing it?
    23             MR. CLARK: Objection to                  23             MR. CLARK: Objection.
    24         form.                                        24         Q. And that's what I'm asking.
                                                Page 147                                                Page 149
     1          Q. Can you remember that?                    1             MR. CLARK: Objection to
     2              MR. CLARK: Same objection.               2        form.
     3          Q. I'm not saying it didn't happen,          3        A. Because it was suspicious?
     4   but do you have a recollection?                     4        Q. Yes. That you can recall.
     5              MR. CLARK: Same objection.               5             MR. CLARK: Objection to
     6          A. I've stopped orders because I just        6        form.
     7   wasn't comfortable with them, for whatever          7        A. That one with the Tussionex, yes.
     8   reason that may be, okay? Lots of orders.           8        Q. Fair enough. Any others that you
     9          Q. Have you ever -- I understand, but        9   can recall?
    10   can you testify here today -- do you remember      10        A. I recall the Tussionex.
    11   when we talked about this earlier?                 11        Q. And that's fair. And I'll even be
    12              MR. CLARK: Objection to                 12   more of what I hope is fair to you, which is, if
    13          form.                                       13   we look at the log and we see the log
    14          Q. I know there has been a lot of           14   triggered -- and we see a sales history, and we
    15   questions.                                         15   see that it was triggered and then it wasn't
    16          A. There has been a lot of questions        16   shipped, that's something else that you and I
    17   so ...                                             17   spoke about that we can look at, even if you
    18          Q. I get it.                                18   don't remember it here today, right?
    19              MR. CLARK: And I'm just                 19             MR. CLARK: Objection to
    20          going to put a standing objection           20        form.
    21          down to the extent that this calls          21        Q. Correct?
    22          for a legal conclusion over the             22        A. Yeah.
    23          definition of suspicious.                   23        Q. Now, the Tussionex -- and I
    24          Q. Part of your job is to not ship          24   thought I covered it -- you said that that
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     1   particular order you were uncomfortable with        1         CERTIFICATE
     2   because it was very much unusual from what that     2 STATE OF OHIO     :
                                                                             SS:
     3   person had ordered before, right?
                                                             3 COUNTY OF __________:
     4            MR. CLARK: Objection to
                                                             4
     5        form.                                          5         I, JAMES T. SCHOEN, do hereby certify that I
     6        A. No. From what other people have             6 have read the foregoing transcript of my
     7   ordered from me.                                    7 cross-examination given on February 27, 2019; that
     8        Q. Okay.                                       8 together with the correction page attached hereto
     9        A. Okay?                                       9 noting changes in form or substance, if any, it is
    10        Q. Now, did you --                            10 true and correct.
                                                            11                 _____________________________
    11        A. Yes.
                                                                                JAMES T. SCHOEN
    12        Q. Sorry.
                                                            12
    13            Did you pick up the phone and talk        13         I do hereby certify that the foregoing
    14   to that pharmacy? Did you send them the form?      14 transcript of the cross-examination of JAMES T. SCHOEN
    15            MR. CLARK: Objection to                   15 was submitted to the witness for reading and signing;
    16        form.                                         16 that after he had stated to the undersigned Notary
    17        A. That was before the form. That             17 Public that he had read and examined his
    18   was a long time -- I can't recall when that was.   18 cross-examination, he signed the same in my presence
                                                            19 on the _______ day of _________________________, 2019.
    19        Q. That was a long time ago?
                                                            20
    20        A. Yes.
                                                                                _____________________________
    21            MR. REINS: Gotcha.                        21                  NOTARY PUBLIC - STATE OF OHIO
    22            I have no more questions.                 22
    23        Thanks for your time.                         23 My Commission Expires:
    24            MR. CLARK: Nothing further.               24 _________________, ______.

                                                Page 151                                                            Page 153
     1           THE VIDEOGRAPHER: We're                     1         CERTIFICATE
                                                             2 STATE OF OHIO   :
     2       going off the record at 3:20 p.m.                                      SS:
     3           (Signature not waived.)                     3 COUNTY OF FRANKLIN :
                                                             4     I, Carol A. Kirk, a Registered Merit
     4                ---                                        Reporter and Notary Public in and for the State of
     5        Thereupon, at 3:20 p.m., on Wednesday,         5 Ohio, duly commissioned and qualified, do hereby
                                                                 certify that the within-named JAMES T. SCHOEN was by
     6   February 27, 2019, the deposition was concluded.    6 me first duly sworn to testify to the truth, the whole
     7                ---                                        truth, and nothing but the truth in the cause
                                                             7 aforesaid; that the deposition then given by him was
     8                                                           by me reduced to stenotype in the presence of said
     9                                                       8 witness; that the foregoing is a true and correct
                                                                 transcript of the deposition so given by him; that the
    10                                                       9 deposition was taken at the time and place in the
    11                                                           caption specified and was completed without
                                                            10 adjournment; and that I am in no way related to or
    12                                                           employed by any attorney or party hereto or
                                                            11 financially interested in the action; and I am not,
    13
                                                                 nor is the court reporting firm with which I am
    14                                                      12 affiliated, under a contract as defined in Civil Rule
    15
                                                                 28(D).
                                                            13
    16                                                                 IN WITNESS WHEREOF, I have hereunto set my
                                                            14 hand and affixed my seal of office at Columbus, Ohio
    17                                                           on this 4th day of March 2019.
    18                                                      15
                                                            16
    19                                                      17
    20                                                      18             _____________________________
                                                                           CAROL A. KIRK, RMR
    21                                                      19             NOTARY PUBLIC - STATE OF OHIO
    22                                                      20 My Commission Expires: April 9, 2022.
                                                            21           ---
    23                                                      22
                                                            23
    24
                                                            24

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     1           DEPOSITION ERRATA SHEET
     2   I, JAMES T. SCHOEN, have read the transcript
         of my deposition taken on the 27th day of February
     3   2019, or the same has been read to me. I request that
         the following changes be entered upon the record for
     4   the reasons so indicated. I have signed the signature
         page and authorize you to attach the same to the
     5   original transcript.
     6   Page Line Correction or Change and Reason:
     7   ___ ____ ___________________________________________
     8   ___ ____ ___________________________________________
     9   ___ ____ ___________________________________________
    10   ___ ____ ___________________________________________
    11   ___ ____ ___________________________________________
    12   ___ ____ ___________________________________________
    13   ___ ____ ___________________________________________
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    15   ___ ____ ___________________________________________
    16   ___ ____ ___________________________________________
    17   ___ ____ ___________________________________________
    18   ___ ____ ___________________________________________
    19   ___ ____ ___________________________________________
    20   ___ ____ ___________________________________________
    21   ___ ____ ___________________________________________
    22   ___ ____ ___________________________________________
    23   ___ ____ ___________________________________________
    24   Date ______________ Signature ________________________




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